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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA,                    Crim. No. 19-120 (KM)

                v.
                                               Hon. Kevin McNulty
GORDON J. COBURN and
STEVEN SCHWARTZ,
                                       Confidential – Submitted Under Seal
                       Defendants.




           REPLY BRIEF IN FURTHER SUPPORT OF DEFENDANTS’
       JOINT MOTION TO COMPEL COGNIZANT’S COMPLIANCE WITH
        RULE 17(C) SUBPOENAS AND IN OPPOSITION TO COGNIZANT’S
                CROSS-MOTION TO QUASH AND/OR MODIFY
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                                PRELIMINARY STATEMENT

       In its Memorandum of Law in Support of its Cross-Motion to Quash and/or Modify

Defendants’ Rule 17 Subpoenas and in Opposition to Defendants’ Motion to Compel (hereinafter,

“CTS Br.”), Cognizant Technology Solutions Corporation (hereinafter, “Cognizant”) seeks to

avoid its obligations to comply with duly authorized and properly issued Subpoenas of the Court

that seek information relevant and necessary to a decision on the outsourcing issue that is before

the Court. Specifically, and after eight months and numerous meet-and-confer sessions that have

resulted in Cognizant’s production of less than 200 non-duplicative documents, Cognizant argues

that it should not be required to produce any further documents. In doing so, it completely ignores

the plain language of the Subpoenas, the burden it bears to show that the Subpoenas are

“unreasonable or oppressive,” and even the nature of the outsourcing issue before the Court.

       First, as noted, Cognizant makes no effort to address (much less to meet) its burden of

showing that compliance with the Subpoenas would be unreasonable or oppressive. Instead, it

fails even to acknowledge the applicable legal standard, instead advancing a narrative that extolls

its efforts to gather documents, paltry though the results of those efforts have been.

       Second, of course, those efforts are in fact inadequate because, rather than adhering to the

plain language of the Subpoenas, Cognizant has sought to unilaterally rewrite them to say what

Cognizant—and the Government—wishes they said, instead of what they actually do say. To do

this, Cognizant disregards the actual language of the Subpoenas in numerous respects, discussed

below and in Defendants’ Brief in Support of its Motion to Compel (hereinafter, “Def. Br.”),

including inappropriately constricting their overall scope and seeking to rewrite specific

parameters, from date ranges to custodians to search terms to the inclusion of electronic media.

But its effort completely ignores the procedural history of those Subpoenas, including both the
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careful analysis undertaken by the Court before issuing them and the Court’s express rejection of

arguments from the Government to limit them in just the way that Cognizant seeks.

       Third, Cognizant fundamentally misstates the nature of the outsourcing inquiry at issue

here, seeking to limit that inquiry in a way that is inconsistent with both the Court’s expressed,

open-minded approach to the issue and that fails to follow the applicable precedent. That

precedent, consistent with the Court’s determination to hold a hearing on the outsourcing issue,

requires that there first be an inquiry into whether outsourcing occurred, which must encompass

an inquiry into all of the relevant facts relating to the nature and extent of Cognizant’s coordination

with the Government in carrying out its investigation. At that point, if and when outsourcing is

found, the Court can assess the constitutional implications of that finding, including, for example,

whether the outsourcing gives rise to claims based on an unconstitutional interrogation of the

Defendants, Cognizant’s withholding of exculpatory information or any other constitutional

violation. Cognizant’s response seeks to turn that inquiry on its head, limiting the investigation of

outsourcing to the specific facts involving only one of the potential constitutional violations at

issue (though it seeks to limit the scope of that inquiry too). Of course, this makes no sense, as

this Court has already determined, and as the relevant case law makes absolutely clear.

       Indeed, Cognizant makes clear in its submission that its real goal—exactly like that of the

Government—is to avoid the outsourcing inquiry altogether, initially by simply declaring it to be

meritless, despite concrete and compelling facts to which the Defendants are able to point, even

with the limited and incomplete record thus far provided. In a brief that reads like a Government

filing in many ways, including by arguing the Defendants’ guilt (though that is certainly not what

this motion is about), Cognizant seeks to revisit the Court’s decision to conduct this outsourcing

inquiry at all. But its effort to pretermit the outsourcing inquiry should and must be rejected, and




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in order for that inquiry to be a meaningful one, Cognizant should be required to comply with the

Subpoenas duly authorized by the Court.

       Finally, Cognizant completely fails to explain how, having provided the Government with

significant amounts of privileged information, through both oral “downloads” of interviews and

extensive production of privileged documents, it may now claim privilege with regard to the very

same subject matters encompassed by those disclosures. Indeed, even the limited information thus

far obtained by the defense demonstrates that Cognizant’s selective invocation of privilege—

turning over to the Government and waiving privilege as to some documents, but asserting

privilege as to others—serves to provide an incomplete, curated version of events. Thus, as is set

forth in the Defendants’ Moving Brief and in detail below, concrete examples establish that the

effect of Cognizant’s selective waiver of privilege is to tell a story consistent with the Defendants’

alleged guilt but not consistent with the facts. The law specifically provides that selective

assertions of privilege that cause prejudice to an adversary give rise to a broader subject matter

waiver, and Cognizant’s assertions of privilege should, therefore, be denied, both in service of the

outsourcing inquiry which the Court has ordered and, more fundamentally, so that the Defendants

may have a fair trial, including the opportunity to defend themselves vigorously by seeking

materials beyond the curated version of events found in the discovery produced to date.

                                      LEGAL ARGUMENT

I.     COGNIZANT SHOULD BE COMPELLED TO PRODUCE DOCUMENTS
       RESPONSIVE TO THE PLAIN LANGUAGE OF THE SUBPOENAS, AND ITS
       CROSS-MOTION TO QUASH SHOULD BE DENIED.

       A.      Cognizant Fails to Acknowledge, Let Alone Satisfy Its Burden of Showing, that
               the Subpoenas Are “Unreasonable or Oppressive,” Ignoring the Nixon
               Analysis that the Court Already Performed.

       Cognizant’s response to the Defendants’ motion is plagued by a fundamental defect:

Cognizant nowhere acknowledges the legal requirement that, in resisting the Subpoenas, it bears


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the burden to demonstrate that the Subpoenas are “unreasonable or oppressive.” See Impounded,

277 F.3d 407, 415 (3d Cir. 2002) (“The burden of production and the burden of persuasion to show

that a subpoena was unreasonable lies with the party resisting it.”); United States v. Caruso, 948

F. Supp. 382, 397 (D.N.J. 1996) (“‘[a] subpoena for documents may be quashed if their production

would be ‘unreasonable or oppressive,’ but not otherwise.”) (quoting United States v. Nixon, 418

U.S. 683, 698 (1974)). Indeed, Cognizant does not even attempt to make this showing: nowhere

in its Opposition does it even advance an argument that the Subpoenas are “unreasonable or

oppressive.” Nor could it, in good faith, do so, given its extensive production to the Government,

described in the Defendants’ prior submission. (See Def. Br. at 15, 44 n.20).

       That Cognizant has not made this argument is understandable. After all, in this case, the

Court has already determined, after having heard from the Government, that the Nixon

requirements were met, even narrowing the Subpoenas to ensure that they would not be overbroad.

In doing so, the Court made clear that it was fulfilling its responsibility “not merely to quash an

overbroad subpoena, but to ensure that a Rule 17 subpoena is properly issued in the first place.”

(ECF No. 96 at 13). Further, with regard to the Subpoenas’ scope in particular, the Court made

clear that its “oversight function is critical; I will not, to borrow Defendants’ terminology,

outsource it to the companies being subpoenaed.” (Id.). Thus, the Court proceeded to carefully

analyze each of the Nixon requirements and found—after specifically revising the language of the

document requests to narrow the Subpoenas—that they had been satisfied, including that the

“specificity” requirement that is designed to prevent the issuance of subpoenas that amount to a

“general ‘fishing expedition’” had been satisfied. (Id. at 15 (quoting Nixon, 418 U.S. at 700)).

       Cognizant, however, ignores the process that took place, instead launching a direct attack

on the Court-approved Subpoenas by—in an echo of the Government’s opposition to the issuance




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of the Subpoenas in the first place—focusing its arguments on the Defendants’ purported failure

to satisfy the specificity prong of Nixon. Thus, just as the Government did (see ECF No. 76),

Cognizant repeatedly (no fewer than seven times) characterizes the already-approved Subpoenas

as a “fishing expedition.”1 In doing so, it not only rejects the Court’s previous conclusion, but also

turns the law of subpoenas on its head by seeking to transfer its burden to the Defendants to show,

yet again, why the Subpoenas are sufficiently specific, insisting as it does that the Defendants

identify with precision the substance of documents to which they have thus far been denied access.

But this, of course, makes little sense and undermines the purpose of these or any other Rule 17

subpoenas. See United States v. Poindexter, 727 F. Supp. 1501, 1510 (D.D.C. 1989) (rejecting

argument that “subpoena lacks adequate specificity” and amounts to a “fishing expedition”

because “[t]he Court . . . will not place the defendant in the impossible position of having to provide

exquisite specificity as a prerequisite to enforcement of the subpoena by the Court, while he is

denied access to the documents in question, thus making it impossible for him to be more

specific”); see also United States v. Orena, 883 F. Supp. 849, 868 (E.D.N.Y. 1995) (party arguing

that a defendant’s subpoena is “merely fishing” cannot place “an unreasonable burden” on

defendant to provide specificity).

       In any event, the Court, upon examining the categories of documents sought, correctly

concluded that the Defendants provided sufficient specificity under Nixon. (ECF No. 96, 104).




1
  Cognizant’s repeated citation to the Third Circuit’s unpublished decision in United States v.
Eisenhart, 43 F. App’x 500 (3d Cir. 2002), in support of its argument that the Defendants have
embarked on a “fishing expedition,” is unpersuasive. There, even after 15 months of discovery,
the defendant was unable to identify any relevant evidence to be subpoenaed. Id. at 505 (“the
subpoena was not aimed at relevant information”). In contrast, the Defendants’ Subpoenas here
target relevant evidence, as the Court found in its September 14 Order. (ECF No. 96 at 15
(“Schwartz has made a strong enough argument to require production of some category (a)
documents . . . . [Those documents are] relevant to the outsourcing issue.”)).


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Cognizant provides no basis to overturn that decision. Nor, obviously, does it show how the

unspecified burden on Cognizant somehow outweighs the Defendants’ fundamental right in a

criminal case to obtain the materials necessary to mount a defense, a critical point that the

Defendants raised in their Moving Brief (Def. Br. at 44-45 (citations omitted)), but which

Cognizant does not even acknowledge, let alone attempt to rebut. In sum, because Cognizant has

not and cannot come close to shouldering its burden of showing that expanding its search to comply

with the Subpoenas would be “unreasonable or oppressive” within the meaning of Rule 17, its

Cross-Motion to Quash should be denied.

       B.      Cognizant’s Narrow Interpretation of the Subpoenas Ignores Their Plain
               Language and Recycles the Government’s Arguments Previously Rejected by
               the Court.

       Beyond its failure to acknowledge or satisfy its legal burden in seeking to resist the

Subpoenas, Cognizant’s narrow framing of the scope of the Subpoenas ignores both their plain

language and the procedural history that gave rise to, and explains, that language. Thus, the

Subpoenas here at issue specifically call for documents “related to the investigation and interview

of Schwartz [and Coburn].” (Def. Br. at 23-25 (citing ECF No. 96 at 16-24)) (emphasis added).

This language was precise and purposeful and was the product of full briefing regarding the proper

scope of the Subpoenas after they were revised by the Court in accordance with its ruling.

Cognizant, however, contends that, despite this plain language, the Subpoenas do not cover

documents concerning the “investigation.” (CTS Br. at 18 (“[M]atters related to the broader issue

of whether Cognizant’s entire investigation was the product of Government ‘outsourcing’ are

irrelevant for Rule 17 purposes unless they are pertinent to the question of whether Defendants’

statements in their interviews were coerced.”)). This argument is, of course, exactly the same as

the one that the Government offered—nearly verbatim—immediately following the Court’s

September 14 Order. Specifically, the Government argued that the Court’s Order “unambiguously


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narrows the scope of the Defendants’ Rule 17 subpoenas” to a “potential Garrity [v. New Jersey,

385 U.S. 493 (1967)] analysis” and thus requested that each request in the Subpoenas be revised

to cover only “communications related to the interview of Schwartz [or Coburn], including any

investigation of Schwartz [or Coburn] that led to his interview.” (ECF No. 99 at 1). The Court,

however, rejected the Government’s argument, instead authorizing the issuance of the revised

Subpoenas without the limitations advocated by the Government. (ECF No. 104). In doing so the

Court approved Subpoenas that could, as intended, accomplish their stated goal of furthering the

inquiries that follow from United States v. Connolly, No. 16 CR. 0370 (CM), 2019 WL 2120523

(S.D.N.Y. May 2, 2019), and United States v. Blumberg, No. 14-CR-458 (D.N.J.), by addressing

both the “investigation and interview[s]” of the Defendants and expressly allowing “some

breathing room for the surrounding context” of the investigation beyond the Defendants’

interviews alone. (ECF No. 96 at 16).

       The Court’s ruling in this regard made perfect sense: the “surrounding context” is

necessary so that the outsourcing inquiry is full, fair and meaningful, and allows the Court, if it

finds outsourcing, to ascertain the full range of constitutional rights that are implicated. Thus, as

the Defendants have explained, a number of fundamental rights are potentially implicated when a

private party stands in the shoes of the Government, including not only the constitutional rights

applicable to the questioning of criminal suspects, as in Garrity and Connolly, but also the

disclosure of exculpatory evidence under Brady v. Maryland, 373 U.S. 83 (1963), discussed in

Blumberg, and the right to present a defense, guaranteed by the Due Process Clause and by the

Sixth Amendment. (Def. Br. at 3, 25-36).

       C.      Cognizant’s Narrow Interpretation of the Subpoenas Ignores the Purpose of
               the Outsourcing Hearing and Inappropriately Limits the Information That
               Will Be Available for Purposes of Deciding the Issues Before the Court.

       Beyond its disloyalty to the plain language of the Subpoenas, the inadequacy of


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Cognizant’s subpoena response, and the flawed interpretation of the Subpoenas upon which it

rests, are exposed in the first sentence of its Opposition Brief. According to Cognizant, the Court

in its September 14 Order “authorized Defendants to serve Rule 17 subpoenas on Cognizant

concerning the ‘narrow issue’ of whether Defendants’ statements in their interviews during

Cognizant’s internal investigation were coerced under Garrity.” (CTS Br. at 1). Based on that

incorrect premise, Cognizant admits that it did not collect, review and produce materials in

accordance with the terms of the Court-approved Subpoenas, but rather confined its search for

responsive materials to those that, in Cognizant’s view, “would be relevant to a potential motion

to suppress” (id. at 15), ultimately opining that the only “substantive legal issue presented” is

“whether the Government coerced [Defendants’] interview statements under Garrity.” (Id. at 20).

       But that is not what the Court ordered, and Cognizant’s proposed approach does not allow

for consideration of the full scope of the legal issues to be presented to the Court in the outsourcing

motion. As set forth below, Cognizant’s effort to limit the inquiry to a Garrity issue not only

ignores the Court’s September 14 Order and the Subpoenas that it authorized, but it bypasses the

first prong of the Connolly inquiry, which asks whether the Government outsourced its

investigation—the very question that the Court has granted a hearing to address. (ECF No. 96 at

11 n.11).

               1.      Cognizant Ignores the Two-Pronged Connolly Inquiry and the Factors
                       Relevant to the Threshold Outsourcing Question.

       As the Court’s September 14 Order makes clear, the full scope of the Defendants’

forthcoming outsourcing motion will depend upon the information that it seeks here; that

information will define the contours of that motion, including the constitutional rights that are

implicated by a private party like Cognizant standing in the shoes of the Government, whether

those arise under the Fourth, Fifth, and Sixth Amendments. (See Def. Br. at 25-26, 30-32). To be



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sure, the Court “focus[ed] on Connolly and Garrity themselves” in considering the potential bases

for Defendants’ motion that will flow from the information developed at the outsourcing hearing,

and the process that will precede it. (ECF No. 96 at 11 n.11). But the Court was perfectly clear

that those grounds may change depending upon how the evidence develops: in the words of the

Court, “[t]he hearings ordered by the Court here may alter the picture as to the ‘outsourcing’

claim.” Therefore, the Court determined to “convene a hearing on the outsourcing itself” in order

to develop the complete record necessary for that determination to be made. (Id. at 10 n.10, 11

n.11).

         Cognizant’s response fails to acknowledge these aspects of the Court’s September 14 Order

in any way. Instead, it ignores the very purpose of the hearing ordered by the Court: to address

the threshold inquiry of “outsourcing itself”—i.e., whether the evidence shows outsourcing such

that Cognizant’s actions should be deemed those of the Government. This is, as Defendants have

shown, the first prong of the inquiry, under both Connolly and Blumberg. (Def. Br. at 25-30).

Instead, Cognizant jumps directly to the second Connolly inquiry—whether the actions of

Cognizant, as the Government’s agent, violated the Defendants’ constitutional rights—eschewing

the analysis that the Connolly court undertook when evaluating whether the Government had there

outsourced its investigative function to company counsel in the first place. (Id.). Specifically,

although the defendant’s outsourcing claim in Connolly was (unlike here) focused exclusively on

Garrity—the defendant argued that his interview statements to company counsel “were both ‘fairly

attributable’ to the Government and ‘compelled,’ thereby violating his constitutional right against

self-incrimination,” Connolly, 2019 WL 2120523, at *10—the Connolly court considered factors

well beyond the defendant’s interviews in concluding that the Government’s investigation had, in

fact, been outsourced, and that the company’s and its counsel’s actions were therefore fairly




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attributable to the Government. Id. at *2 (“The issue raised by [the defendant’s] motion is just

exactly how much the investigation conducted by [company counsel] was a substitute for

investigative efforts by Government attorneys.”); id. (“For Purpose[s] of This Motion, the Court

Finds that [the] Bank Investigation is ‘Fairly Attributable to the Government.”); id. at *12 (“rather

than conduct its own investigation, the Government outsourced the important developmental stage

of its investigation to [the] Bank—the original target of that investigation—and then built its own

‘investigation’ into specific employees, such as [the defendant], on a very firm foundation

constructed for it by the Bank and its lawyers”).2

       Thus, before reaching the constitutional implications that resulted, the Connolly court

engaged in a thorough analysis of whether the Government had, in fact, outsourced its

investigation to company counsel. Among other things, the court:

              Considered the conduct of, and the communications and level of coordination
               between, the company and its counsel, on the one hand, and the Government, on
               the other, throughout the course of the five-year-long investigation, including
               during time periods well after the defendant’s interviews by company counsel,
               continuing through the company’s entry into a deferred prosecution agreement with
               the Government. Id. at *4 (as the investigation progressed, the “Bank
               representatives and counsel continued to update the Government about their
               findings and coordinate next steps, as to [the defendant] and others”); id. at *5
               (“The limited record reflects that the Government and [company counsel] discussed
               [the defendant], in real time and at least to a limited extent, as the Bank’s internal
               investigation progressed.”); id. at *11 (after the defendant’s interviews with
               company counsel, and “as [the] Bank’s investigation progressed, the Government
               continued to discuss [the defendant] by name in meetings with Bank
               investigators”); id. at *8, *12 (“[i]n the DPA, DOJ touted the benefits of the
               cooperation that [the] Bank and [company counsel] provided” and “[n]ot
               surprisingly, when it came time to resolve its case against [the] Bank, the
               Government credited [company counsel] for its extensive support of its own
               investigative efforts.”).



2
 Likewise, in Blumberg, where Brady, rather than Garrity rights were at issue, Judge Linares—
after ordering “significant discovery”—held an evidentiary hearing to determine “the extent to
which the Government outsourced and/or delegated discovery and investigation tasks to” company
counsel. (Def. Br. at 31 (citing Blumberg, No. 14-CR-458, ECF No. 113 at 2)).


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              Identified as another “critically important issue” to the outsourcing inquiry “just
               what the Government was doing during the five years between” the initiation of the
               investigation in 2010 and the Bank’s entry into a deferred prosecution agreement
               in 2015, highlighting that the record contained “very little evidence about the
               Government’s own independent investigative efforts” and that the Government
               “did not interview anyone at [the] Bank until late 2013—three and a half years
               after” the investigation commenced. Id. at *9, *12-13; see also id. at *9 (“It is hard
               not to conclude that the Government did not conduct a single interview of its own
               without first using a road map that [company counsel] provided—illuminating just
               how the Government should ‘investigate’ the case against certain [] Bank
               employees, including [defendant].”).

              Emphasized that the “massive amount of pressure” that companies face to
               cooperate “is highly relevant to any assessment of the sufficiency of the nexus
               between the Government and [the] Bank’s ‘internal’ investigation,” particularly
               insofar as the company’s private interests are “aligned with the Government’s
               interest.” Id. at *13; see also id. at *8 (company counsel “was candid about the
               context in which all of this occurred, as well as the substantial pressure [the] Bank
               faced to cooperate in every conceivable way with the Government”); id. at *7 (the
               “Bank would not have been eligible for cooperation credit had it not done these
               things”) (citing Filip Memorandum §§ 9-28.700, 9-28.720(a)).3

       Significantly, then, the outsourcing inquiry undertaken by the court in Connolly went well

beyond the parameters that Cognizant seeks to impose on the development of the issue here. That

is, even with its focus on a potential Garrity violation,4 the Connolly court considered numerous

factors beyond the defendant’s interviews in arriving at its conclusion that the Government had

outsourced its investigation. These factors, identified by the Defendants in their Moving Brief as

critical to the outsourcing inquiry, (Def. Br. at 29-30), are left completely unaddressed by

Cognizant in its attempt to defend its unilaterally narrowed response to the Court-approved

Subpoenas, and indeed, to foreclose the Connolly inquiry altogether. Cognizant should not be



3
 As is discussed further below, Cognizant’s attempt to dismiss “as a matter of law” the relevance
of DOJ policies to the outsourcing inquiry (CTS Br. at 26, n.16) misstates the law, as reflected in
Connolly itself.
4
 Of course, it bears emphasis that while the defendant in Connolly claimed a violation of his
Garrity rights, Judge McMahon did not purport to define the full range of constitutional rights that
may arise as a result of a finding of outsourcing.


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permitted to so short-circuit this Court’s forthcoming inquiry; instead, Cognizant should be

required to comply fully with the Court-approved Subpoenas as issued so that the question as to

which the Court has ordered a hearing to address—whether the Government outsourced its

investigation—can be evaluated on a full and fair evidentiary record. (ECF No. 96 at 11 n.11)

(“Because I have a less complete record than the one that was before Judge McMahon, I will

convene a hearing on the outsourcing itself.”); see also March 3, 2020 Tr. at 11-12 (“THE COURT:

. . . But aren’t [Defendants] right about the logical order? I mean, doesn’t it make sense that we

not decide the [outsourcing] motion once with incomplete information, complete our information,

and then decide it again? . . . Let them get whatever it is they’re entitled to and once they’ve got

that, use it in whatever manner is appropriate in the motion practice.”).

                 2.    Cognizant Mischaracterizes Garrity and the Defendants’ Interviews in
                       an Effort to Avoid This Inquiry.

       Beyond overlooking the threshold outsourcing inquiry, Cognizant goes a step further and

urges the Court—though the Court has repeatedly said it would not do this—to predetermine the

outcome of this process, repeating the Government’s refrain that Defendants have “proffered no

evidence” that their interviews were coerced and thus have no chance of succeeding on their

pretrial motions. (CTS Br. at 2 (“The documents that were captured contain no evidence that

Defendants’ interviews were coerced or ‘Government-engineered’ in any way.”); id. at 31

(“Defendants have proffered no evidence that their interviews truly were the product of coercion

(much less Government coercion).”)). Cognizant’s approach in this regard is, again, identical to

that taken by the Government in (unsuccessfully) opposing issuance of the Rule 17 Subpoenas in

the first place, (ECF No. 76), and then seeking (again unsuccessfully) to limit them in order to

prevent the Defendants from gathering information for their defense. (ECF No. 83 at 2-3; ECF

No. 96 at 16).



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       In any event, Cognizant’s characterization of the record—even without the benefit of the

evidence that will come from compliance with the Subpoenas—is demonstrably wrong. In fact,

Defendants quoted and attached to their moving papers specific evidence that provides significant

indicia of coercion; these include Cognizant employee policies and the Defendants’ employment

agreements mandating cooperation with the investigation in order for them to maintain their

employment with Cognizant (Def. Br. at 5-6, Exs. C, D, E), and an email exchange between DLA

and Schwartz’s then-counsel, Josh Rievman, memorializing the draconian “parameters” that

Cognizant imposed for the Defendants’ interviews, including a prohibition on the presence of more

than a single lawyer and requirements “that the lawyer will not take notes, ask questions, or

otherwise disrupt the interview.” (Def. Br. at 8-10, Ex. K). Certainly, given Cognizant’s superior

leverage, Defendants understood that, if they did not agree to these terms and submit to the

interviews, they would be fired. (Def. Br. at 5-6, 9-10).5 In other words, the Defendants’

interviews were squarely, as the Court put it, “under the implicit compulsion of ‘cooperate or be

fired’” within the meaning of Garrity—though the Defendants, of course, need not make that

showing at this stage. (ECF No. 96 at 10).

       In this regard, Cognizant’s suggestion that the Defendants can only prevail on the merits

of a Garrity claim if they were explicitly “threatened with termination” (CTS Br. at 9, 31) is

inconsistent with the law, which, as this Court correctly observed, turns on “implicit compulsion”

(ECF No. 96 at 10) and does not require an explicit threat. See also, e.g., United States v. Vangates,



5
  In its Opposition Brief, Cognizant claims that Schwartz “asked to be interviewed as soon as
possible,” and, without basis, that he was “eager” to be interviewed. (CTS Br. at 2, 7). Setting
aside that these considerations are not relevant under Garrity, which only asks whether a defendant
was compelled to sit for an interview under the threat of termination, the fact that Schwartz knew
the interviews were compulsory and wanted to schedule them promptly to get them over with and
move the investigation forward does not in any way change the reality that he was compelled by
Cognizant to sit for the interviews.


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287 F.3d 1315, 1321 (11th Cir. 2002) (“[S]elf-executing Garrity immunity . . . may arise without

an explicit threat of employment sanctions.”) (citing, inter alia, Garrity, 385 U.S. at 496 (“Subtle

pressures may be as telling as coarse and vulgar ones.”)); Connolly, 2019 WL 2120523, at *3

(S.D.N.Y. May 2, 2019) (emphasizing provision in employee policy stating that employees “must

fully cooperate with . . . internal and external examinations, investigations and other reviews” or

risk “disciplinary action” as supporting finding that defendant had a “reasonable” and “subjective

understanding” that he had no choice but to be interviewed or else risk termination, and finding

Garrity violation notwithstanding no direct threat that defendant would be fired).

       Cognizant also seeks to advance the Government’s ultimate arguments at this early stage,

contending that there is “no evidence” that the Government was anything more than a passive

observer during the period surrounding the Defendants’ interviews. (CTS Br. at 2, 31-32). But to

the contrary, the communications thus far provided for the period leading up to, on the day of, and

immediately after Schwartz’s second interview, reflect extensive coordination with the

Government, including “questions,” “requests,” and “follow up” from the Government in response

to Cognizant’s frequent, real-time updates. (Def. Br. at 6-12, 32-33 (setting forth, inter alia, at

least 29 communications between DLA and the Government in the less than four weeks leading

up to Schwartz’s second interview on September 23, 2016 and Coburn’s planned second interview

on September 28, including email and telephone communications on the very day of Schwartz’s

interview)).6 This provides, at minimum, good reason to believe that there is much more that



6
  Cognizant’s assertion that the Defendants attached “only two of these communications as
exhibits” to their Joint Motion is simply inaccurate. (See Lustberg Cert., Exs. H, I, J, L, M, N).
But in any event, Cognizant does not—as it could not—contest that the Defendants have accurately
described the frequency of communications between Cognizant and the Government during this
period, and in fact has itself attached additional examples of the communications to which the
Defendants were referring, further demonstrating the active role the Government played during
the timeframe surrounding Cognizant’s interviews of the Defendants. (See Solano Cert., Exs. 12-


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remains to be discovered about the subject of these Subpoenas, all of which can be presented to

the Court for adjudication when the discovery stage of the process is complete.

       Finally, Cognizant’s gratuitous, highly misleading portrayal of Schwartz’s interviews,

though irrelevant to its opposition to these discovery motions (and, revealingly, more of an effort

to prosecute the case than to appear as the subject of a third party subpoena), merits a brief

response. Cognizant references Schwartz’s second interview and particularly a discussion during

that interview of notes dated April 22, 2014 which it had obtained from Schwartz’s laptop (CTS

Br. at 8). But it selectively quotes from those notes, pointedly omitting the exculpatory portions

in which Schwartz indicates that he, in fact, contemporaneously reported the April 2014

conversation—during which the Defendants are alleged to have learned of and then authorized

payment of the bribe demand that forms the basis for the Indictment against them, see Ind. ¶¶ 12-

13—to Lakshmi Narayanan, Cognizant’s former CEO and, at the time, Vice Chairman of the

Board as well as Cognizant India’s Chairman of the Board, and noted that:

              “we are taking the right approach” (i.e., by not paying a bribe);

              it was the “right stand for us to say [it was] their [i.e., L&T’s] problem,” and

              “anything other than real estate we should not pay.”

(Def. Br. at 75, Ex. MM). That is, Cognizant not only grossly mischaracterizes Schwartz’s

interview, but also selectively excludes the obviously exculpatory portions of the notes. While

Cognizant rhetorically asks how Schwartz could have been compelled against his will to sit for his

interviews (CTS Br. at 32), ignoring the express terms of his employment agreement and

Cognizant’s Code of Conduct, as well as his real-life experience as Cognizant’s Chief Legal




15). And, of course, further communications may well be contained in the electronic
communications not yet provided. See infra at I.D.1.


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Officer to whom Corporate Security reported, a better rhetorical question might be why Cognizant

has gone to such great lengths in a prosecutorial attempt to argue the Defendants’ guilt, weaving a

highly curated narrative, in the context of a motion to compel compliance with Subpoenas.

          D.     In Order To Comply with the Plain Language and Purpose of the Subpoenas,
                 Cognizant Should Be Compelled to Remedy Its Failure to Search For And
                 Produce Responsive Documents.

                 1.      The Narrow Date Range Used by Cognizant Is Inconsistent with the
                         Terms of the Subpoenas and the Orders of the Court.

          In an effort to justify its unilateral decision to limit the date range of its searches for

responsive documents to the narrow time period between August 14, 2016 and October 24, 2016—

less than ten weeks of an investigation that spanned over two years—Cognizant explains that its

“search focused on the time period when, if there had been any ‘Government engineering’ of

Defendants’ interviews, it would have occurred.” (CTS Br. at 19 (emphasis added)). Obviously,

this argument is just another expression of Cognizant’s unduly narrow interpretation of the

Subpoenas, which is wrong for the reasons set forth above and in the Defendants’ Moving Brief.

Nor do Cognizant’s more specific arguments in support of using this narrow date range fare any

better.

          First and foremost, Cognizant’s searches must go beyond these ten weeks because the

Court-approved subpoena requests on their face require it. (See Def. Br. at 37-38). Indeed,

Cognizant acknowledges that “the Court approved Subpoenas that requested communications

concerning Cognizant’s cooperation with DOJ after February 2019 and communications

pertaining to DOJ’s February 2019 declination letter” and thus required the production of materials

dated over two years after Cognizant’s self-selected cut-off date of October 24, 2016. (CTS Br. at

24). Nonetheless, Cognizant insists that those requests are somehow “beyond the scope of

discovery authorized by the September 14 Decision.” (CTS Br. at 24). But that position expressly



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disregards that the Court, in its September 14 Order, explicitly approved those precise requests

(ECF No. 96 at 19-20). Cognizant’s position is no less than an obvious effort to rewrite the

Subpoenas to fit the reformulated “scope” that it desires.

       Cognizant argues that “Defendants simply have not established that communications

between Cognizant and DOJ in or around February 2019 could retroactively have any bearing on

whether interviews conducted two years earlier were coerced by the Government.” (CTS Br. at

24). But leaving aside that this position again misplaces the burden applicable to this motion,

seeking to impose it upon the Defendants without ever showing that the Subpoenas are

unreasonable or oppressive, and further leaving aside that the Court has already rejected this

argument by approving requests that expressly call for such communications, this position again

is based upon inappropriately limiting the outsourcing inquiry to the question of whether the

Defendants’ interviews were coerced. As the Defendants have explained (and Cognizant ignores),

communications between Cognizant and the Government during that key time when Cognizant

likely would have emphasized to the Government its cooperative efforts in an effort to get the best

result possible, bear directly on the outsourcing inquiry, as the Court implicitly recognized in

approving them, over objection. (Def. Br. at 38).

       Indeed, the court in Connolly looked to precisely this type of evidence, devoting an entire

section of its opinion to a report submitted by company counsel shortly before the company entered

into a deferred prosecution agreement with the Government. The report, as described by the court,

“provide[d] an exhaustive overview of the Bank’s substantial cooperation with the Government”

throughout the Bank’s multi-year investigation and led the court to conclude that the “Bank’s

investigation pretty much was the Government’s investigation.” Connolly, 2019 WL 2120523 at

*8-9, see id. at *13 (“The Government’s investigatory strategy up to that point was to let the Bank




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carry its water for it.”). In exactly the same way, the communications between the Government

and Cognizant in late 2018 and early 2019 may well reveal important details about the nature of

the company’s relationship with the Government, particularly at the time when they are most likely

to have been discussed, as the Government was making charging decisions.7

       Second, as the Defendants showed in their Moving Brief, evidence of Cognizant discussing

its incentives or motivation to self-disclose during the early stages of the investigation—which

Cognizant’s self-selected date range also excludes—is significant to this inquiry and responsive to

the Subpoenas. Such evidence would, for example, specifically include communications in which

Cognizant discussed maximizing its cooperation credit and shaping its investigation in accordance

with the Government’s specific priorities and interests, e.g., by identifying individual company

officers for the Government to prosecute, consistent with then-operative DOJ policies. (Def. Br.

at 38-41).8


7
  The Connolly court also emphasized in its outsourcing analysis the terms of the deferred
prosecution itself and the Government’s crediting of company counsel for its extensive cooperative
efforts. See id. at *12 (“Not surprisingly, when it came time to resolve its case against [the] Bank,
the Government credited [company counsel] for its extensive support of its own investigative
efforts.”); id. at *8 (“the investigation was a conspicuous success for [the] Bank” and “DOJ touted
the benefits of the cooperation” that the company and its counsel provided in the DPA). But the
corresponding evidence in this case, which is called for by the Subpoenas, would be excluded
under Cognizant’s approach.
8
  In a footnote, Cognizant cites two cases in an attempt to rebut the Defendants’ argument that
DOJ policies are relevant evidence in understanding Cognizant’s incentives and motivations.
(CTS Br. at 26 n.16 (citing Rigas v. United States, No. 11-CV-6964 (KMW), 2020 WL 2521530
(S.D.N.Y. May 15, 2020), and United States v. Ferguson, No. 3:06CR137 (CFD), 2007 WL
4240782 (D. Conn. Nov. 30, 2007))). Both cases stand for the uncontroversial proposition that
DOJ policies, standing alone, cannot establish outsourcing. See Rigas, 2020 WL 2521530, at *18
(“Without more, these policies do not prove that the Government directed Adelphia to restrict the
Rigases’ access to fee advancement, or that Adelphia’s attempts to comply with them were state
action.”); Ferguson, 2007 WL 4240782, at *6 (holding that the Thompson Memorandum alone
was insufficient to establish government coercion). But neither case stands for the proposition that
DOJ policies cannot, “as a matter of law,” along with other facts of the sort that the Defendants
seek here, establish state action, or outsourcing, as Cognizant argues. Indeed, such an argument
is expressly contradicted by the seminal decision of the Second Circuit in United States v. Stein,


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       Along these lines, in response to the Defendants’ request that the Court require Cognizant

to search for materials dated prior to August 31, 2016, the day on which Cognizant claims it first

contacted the DOJ and SEC about making a self-disclosure, Cognizant does not actually deny “that

there may have been earlier communications to the Government,” but merely asserts that the

Defendants “have failed to identify” them. (CTS Br. 8; id. at 25 (Defendants “do not cite any

evidence to support the claim that there might have been earlier contact with the Government”)).

But that glaring non-denial is an effort to undermine the whole purpose of the Subpoenas, which

is to find out whether there is any such evidence, and if so, what it is. And given the relationships

between Cognizant’s counsel and the DOJ and SEC, and the fact that Cognizant had been

considering self-disclosure since at least June 2016 (Def. Br. at 4, 6-7, 39-40)—a fact that

Cognizant does not dispute—there is certainly a reasonable basis to conclude that there may well

be earlier communications between Cognizant’s counsel and the Government.9 As just one


541 F.3d 130, 135 (2d Cir. 2008), which held that the Thompson Memorandum, in conjunction
with the Government’s conduct in pressuring a company to condition, cap, and ultimately cease
advancing legal fees to defendants, contributed to a finding of state action. Neither Rigas nor
Ferguson is to the contrary and, of course, Connolly itself emphasized that the “massive amount
of pressure” that companies face to cooperate “is highly relevant to any assessment of the
sufficiency of the nexus between the Government and [the] Bank’s ‘internal’ investigation.”
Connolly, 2019 WL 2120523 at *13; see also id. at *7 (the “Bank would not have been eligible
for cooperation credit had it not done these things”) (citing Filip Memorandum §§ 9-28.700, 9-
28.720(a)). In sum, evidence of Cognizant’s attempts to comply with and mold its investigation
to fit DOJ guidance is among the factors directly relevant to and supportive of the Defendants’
forthcoming outsourcing motion, and contrary to Cognizant’s view, should be produced in
response to the Subpoenas.
9
  Cognizant’s contention that because “Schwartz supervised the investigation up until August 20,”
he necessarily “would have been aware of any contact with the Government during that period”
(CTS Br. at 8) rests on flawed logic. To be sure, Schwartz was involved in the early phases of the
investigation, but the record is clear that it was Dana Gilbert, Cognizant’s then-General Counsel
of North America and Chief Compliance Officer, and not Schwartz, who was in charge of the day-
to-day operation of the investigation, in particular the interactions with and the management of
DLA, including what was communicated from DLA to Schwartz (among others). Moreover, the
Subpoenas seek documents to which Schwartz, separated from Cognizant and deprived of his
laptop, does not have access, though his involvement in the early stages of the investigation, and

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example, Cognizant does not dispute that by August 31, 2016, DLA had already conducted 22

witness interviews; documents associated with these and other key investigative events would

therefore very likely contain responsive information bearing directly on whether there was, in fact,

the outsourcing that is the subject of this inquiry, including whether the interviews conducted

during this period were encouraged or compelled by the Government, or at least conducted in

accordance with Cognizant’s resolve to cooperate with the federal authorities.

       Third, and perhaps even more obviously, evidence of outsourcing after October 24, 2016

should certainly be produced, as numerous events bearing directly on the “investigation and

interviews of” Schwartz and Coburn in fact occurred after that arbitrary cut-off date—

notwithstanding Cognizant’s attempt to again minimize those “events” as having “no plausible

connection to the question of whether Defendants’ interviews were ‘outsourced’ by DOJ.” (CTS

Br. at 26-27). For example, Cognizant collected and produced to the Government documents and

records specific to the Defendants on numerous occasions between December 2016 and January

2019;10 Cognizant demanded that Schwartz’s counsel produce to it (and then searched) a forensic

image of Schwartz’s company-issued laptop and data on a personal hard drive in May 2017;

Cognizant gathered information about the Defendants from other interviewees during that time

period; the Government requested in a December 2017 letter, and Cognizant provided in the

months that followed, documents and information specific to Defendants (Lustberg Cert. Ex. QQ);



knowledge of Cognizant only serve to emphasize the factual basis for and good faith nature of this
inquiry, which is, then, far from the “fishing expedition” described by Cognizant.
10
   In their Moving Brief, the Defendants noted that the Defendant-specific productions to the
Government continued until August 2018 (Def. Br. at 42), but materials produced by Cognizant to
the defense on July 2, 2021 make clear that such productions actually continued on at least nine
additional occasions. Thus, Cognizant produced to the Government Schwartz-specific materials
on no fewer than 16 separate occasions after October 24, 2016, its self-selected cutoff date—all
the way through January 23, 2019, the month before the Defendants were indicted.


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and Cognizant even provided a series of oral downloads to the Government specifically about the

interviews of the Defendants, all after Cognizant’s self-selected end-date of October 24, 2016.

(Def. Br. at 41-44). Indeed, the arbitrariness of Cognizant’s selection of October 24 is underscored

by its acknowledgement, for the first time, of “the fact that there were ‘downloads’ of Defendants’

interviews in 2018,” (CTS Br. at 26), an admission that is inconsistent with its prior representation

that October 17, 2016 was the date of the first and only DLA download dedicated to the

Defendants’ interviews (see Def. Br. at 41)—a representation that served as the rationale for

Cognizant’s October 24 cut-off date. (Lustberg Cert. ¶ 46). But the point is that all of this

information would reveal the extent to which these significant actions and others, although after

October 24, 2016, were suggested or dictated by the Government.

       Finally, nowhere in its Opposition Brief does Cognizant oppose the Defendants’ request

for the Court to compel Cognizant to simply “[d]isclose all dates on which DLA Piper provided

factual information to the Government concerning its interviews of the Defendants and other

interviewees during the course of the investigation, including the identities of the participants at

such meetings,” (Def. Br. at 19, 42, 83), dates which evidence Cognizant’s coordination with the

Government both before and after the Defendants’ interviews. By declining to oppose this request

for relief, Cognizant concedes that aspect of the Defendants’ motion to compel, and it too should

be granted. See, e.g., Sportscare of Am., P.C. v. Multiplan, Inc., No. CIV.A. 2:10-4414, 2011 WL

589955, at *1 (D.N.J. Feb. 10, 2011) (“[F]ailure to respond in an opposition brief to an argument

put forward in an opening brief constitutes waiver or abandonment in regard to the uncontested

issue.”); Duran v. Equifirst Corp., No. 2:09-cv-03856, 2010 WL 918444, at *3 (D.N.J. March 12,

2010) (“The absence of argument on this and other issues constitutes waiver.”).




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               2.      Cognizant Should Be Compelled to Search the Files of Certain
                       Additional, Essential Custodians.

       Cognizant’s selection of custodians was also unjustifiably limited, and its Opposition Brief

confirms why that is so. To begin, Cognizant’s assertion that it collected and reviewed documents

from those custodians “most reasonably likely to have been involved in communications with the

DOJ or SEC” (CTS Br. at 27-28) exposes one of the fundamental flaws with its selection, search

and production as a whole: Cognizant overlooked (or disregarded) that the subpoena requests

extend beyond—and in some cases do not contemplate at all—direct communications with the

Government.11 By unilaterally limiting its selection of custodians on this basis, Cognizant ignores

the plain language of the Subpoenas in an effort to narrow (or circumvent entirely) the scope of its

obligations and limit the Defendants’ access to documents critical to their defense. Unsurprisingly,

this has resulted in a production of only 199 non-duplicative documents. (Def. Br. at 1, 18).12

       Cognizant’s steadfast refusal to search the Defendants’ own custodial files for responsive

documents is particularly vexing. Indeed, despite repeatedly pointing out in its Opposition Brief

that “Schwartz supervised the investigation” for several months (CTS Br. at 8, 25), and that “DLA

conducted searches of Coburn and Schwartz’s laptop computers” (id. at 8), Cognizant nevertheless

refuses to search the Defendants’ custodial files on the theory that there is no “plausible reason to



11
   For example, Schwartz Request No. 4 requires the production of “[c]ommunications between
CTS and its employees regarding CTS and/or government interviews concerning the subject matter
of the Allegations,” which plainly encompasses internal communications that did not directly reach
the Government. (ECF No. 106-2 at 3-4). Cognizant’s own characterization of the Subpoenas
acknowledges that they call for documents extending beyond communications with the
Government. (CTS Br. at 14 (“Cognizant communications with its employees concerning
interviews regarding the allegations against Defendants”; “[c]ommunications and other documents
concerning findings from Cognizant’s investigation provided to DOJ”; and “[m]emoranda and
notes of information obtained during Cognizant’s interviews”)).
12
   Cognizant’s claim that it produced 343 documents in response to the Subpoenas (CTS Br. at 17)
is misleading, as 144 of those are duplicates.


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conclude that a collection and review of Defendants’ documents—including Schwartz’s laptop—

are likely to contain materials pertinent to the question of whether their interviews were coerced

under Garrity.” (Id. at 28). That position is incorrect for familiar reasons: again, the Subpoenas

seek “information relating to the investigation and interviews of” Schwartz and Coburn—they do

not call for Cognizant to limit its search to documents that it believes evidence coercion. (See,

e.g., ECF No. 106-2 at 2 (Schwartz Request 1), 3 (Schwartz Requests 2, 4a, 4b), 4 (Schwartz

Requests 5-7)).13 Moreover, Cognizant’s rationale that the timing of Schwartz’s involvement in

the investigation justifies excluding his files from the scope of the Subpoenas is once again based

on the flawed premise that the Subpoenas are limited to express “discussions regarding the so-

called ‘outsourcing’ of [Schwartz’s and Coburn’s] interviews.” (CTS Br. at 28). But, as set forth

above, that is incorrect. The Court should require the production of these materials.

       Cognizant also gives short shrift to the Defendants’ request that it search the custodial files

of Robert Molina, Henry Shiembob, and Maureen Breakiron-Evans, falsely claiming that the

Defendants have “done little more than to identify these three individuals by their titles and

generally state that they were involved in the investigation.” (Id.). But that contention ignores

Schwartz’s knowledge of these individuals’ specific roles, as a result of which the Defendants

were able to provide the specific information they did in requesting the search of each of these

custodians’ files during the meet and confer process and in their Moving Brief (Def. Br. at 47-49;

Solano Cert. Ex. 29 at 3). Molina was identified by the Defendants as senior director for Global

Security at Cognizant during the relevant period, participating in internal investigation interviews



13
  Cognizant’s assertion that “evidence of coercion, if it existed, would be within [Defendants’]
control” (CTS Br. at 31) is particularly troubling to the extent that Cognizant required Schwartz to
surrender his laptop and an image of the laptop, where such evidence would exist. Today,
Schwartz no longer has possession of the laptop or image, and Cognizant still will not confirm or
deny that it has preserved or retained them.


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and involved in day-to-day management of the internal investigation (Def. Br. at 47-48); Shiembob

was identified as Chief Security Officer during the relevant period and among those overseeing

Cognizant’s internal investigation and communicating with outside counsel (id. at 48-49); and

Breakiron-Evans was identified as having served as chair of Cognizant’s Audit Committee, which

admittedly played a central role in the investigation following Schwartz’s dismissal. (Id. at 49;

CTS Br. at 6 (“the Audit Committee assumed oversight for the investigation”)).                 Indeed,

Cognizant’s Opposition Brief does not refute the Defendants’ assertions that these custodians

would likely have documents responsive to specific subpoena requests. (Def. Br. at 48 (identifying

Schwartz Requests 2 and 4, Coburn Requests 5 and 8)). Cognizant cannot, then, justify its refusal

to search its files for responsive information.

       Finally, Cognizant’s argument that the Defendants “have offered nothing to suggest that

either E&Y or PwC had independent communications with DOJ or SEC” (CTS Br. at 29) again

ignores that the Subpoenas are not limited to direct communications with the Government (e.g.,

Schwartz Request Nos. 2, 4, 5), a misunderstanding that pervades its analysis. (ECF No. 106-2 at

3-4). Cognizant’s primary basis for refusing to search files of its contract auditors is its claim that

the documents would all be subject to privilege. (CTS Br. at 29 (claiming that all of E&Y’s

communications are privileged)). While this may be a basis to withhold documents identified as

responsive, and which in fact involved communications made with the purpose of obtaining legal

advice, it is not a grounds to avoid performing the searches at all. As discussed in the Defendants’

Moving Brief (Def. Br. at 54-82) and below, see infra at II.C.3, Cognizant also has no basis to

continue to assert privilege over these documents.

       In sum, Cognizant’s approach to the Subpoenas stands in glaring contrast to the efforts it

undertook during its voluntary cooperation with the Government. While, on multiple occasions,




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Cognizant collected, reviewed, and produced—and discussed with—the Government hundreds of

thousands of documents that were specifically focused on materials concerning (and collected

from) Schwartz and Coburn, (Def. Br. at 12, 15; Ex. U), it now refuses even to undertake a search

of the Defendants’ files, or those of others most involved in the internal investigation here at issue.

Particularly in light of the serious charges pending against the Defendants, Cognizant’s

unsupportable refusal to fulfill its obligations under the Court-issued Subpoenas ought not be

permitted. And this is true even if the Subpoenas are uncomfortable for Cognizant. See United

States v. Messercola, 701 F. Supp. 482, 485 (D.N.J. 1988) (“‘[T]he benefits that arise from

requiring [pretrial] production . . . from a nonparty witness far outweigh the speculative

inconveniences.’”) (quoting United States v. Witt, 542 F. Supp. 696, 698 (S.D.N.Y. 1982), aff’d,

697 F.2d 301 (2d Cir. 1982)).

               3.      Cognizant Should Be Compelled to Search for and Produce Text and
                       Instant Messages.

       The Schwartz Subpoena explicitly defined “communications” to include text messages and

instant messages, which Cognizant acknowledges (CTS Br. at 15)—and the Defendants identified

and attached to their moving papers specific record evidence reflecting—that Cognizant

employees, and it appears DLA and the DOJ as well, communicated via those means, including

during the time period immediately surrounding the Defendants’ interviews in August and

September 2016. (See Lustberg Cert. Exs. BB, CC). Thus, Cognizant’s assertion that the

Defendants’ “purported reasons” for requesting that Cognizant search text and instant messages

are based “upon nothing more than their conjecture” (CTS Br. at 30), simply ignores the record.

       Furthermore, Cognizant’s basis for that assertion—that the Defendants have not identified

a “smoking gun” text or instant message that shows “outsourcing or coordination between

Cognizant and DOJ regarding DLA’s interviews of the Defendants” (id.)—misses the point of a



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subpoena. The Defendants’ inability to provide a full accounting of the substance of messages to

which they have not been granted access is not evidence that such documents do not exist; it is

merely confirmation that Cognizant has refused to produce them, despite Court-approved

Subpoenas requiring that they do so and clear indications that these means of communication were

used by the relevant people at the relevant time, including for business purposes.14 (See, e.g.,

Lustberg Cert. Ex. BB); see Poindexter, 727 F. Supp. at 1510 (“The Court . . . will not place the

defendant in the impossible position of having to provide exquisite specificity as a prerequisite to

enforcement of the subpoena by the Court, while he is denied access to the documents in question,

thus making it impossible for him to be more specific.”).

       Cognizant’s position reflects that it continues to read the Subpoenas as it would like them

to read, not as they actually are. The Subpoenas do not call for Cognizant to search for messages

that Cognizant believes evidence or discuss “purported outsourcing or coordination between

Cognizant and DOJ regarding DLA’s interviews of the Defendants.” (CTS Br. at 30). Rather, as

approved by this Court following motion practice and careful review and tailoring, the Subpoenas

direct Cognizant to identify and produce specific categories of communications, including text and

instant messages, “relating to the investigation and interviews” of the Defendants. The Court

should not allow Cognizant to simply disregard the language of the Subpoenas, particularly in the

face of clear evidence that text and instant messages were, in fact, used by and between pertinent




14
  Cognizant does not deny that its counsel and the Government communicated via text message
for business purposes. (CTS Br. at 30, n.19). Given the record evidence demonstrating the
exchange of cell phone numbers between Kevin Gingras (DOJ) and Karl Buch (DLA), and the fact
that all communications between Buch and Cognizant personnel appear to have been conducted
on Buch’s cell phone, Cognizant should be compelled to search text messages using the tailored
search terms designed to identify information necessary for the forthcoming hearing and pretrial
motion practice.


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custodians; Cognizant should be compelled to search for and produce “communications” as that

term is defined in the Court-approved Subpoenas.

               4.      Cognizant Should Be Compelled to Search Using Essential Terms
                       Under the Subpoenas.

       The search terms that Cognizant utilized for its search and collection are facially

inadequate, and Cognizant’s conclusory assertion that the Defendants did not articulate a “proper

reason” as to why that is so, or why “any of the additional search terms [Defendants’] proposed

are reasonably likely to produce documents relevant to Government coercion question,” should be

rejected. (CTS Br. at 30). Following a meet and confer process, Cognizant refused to supplement

its search for responsive documents with critical terms that come directly from the Subpoenas

themselves, including, most notably, “cooperation” and “interview,” which Cognizant itself argues

is the focus of the Subpoenas.        (See, e.g., ECF No. 106-2 (Schwartz Requests 3-4(a), 6

(cooperation); 1-2, 4-7 (interview))). Indeed, each of the twelve terms that the Defendants

proposed be added to Cognizant’s searches, and which Cognizant rejected without justification, is

directly tied to the inquiry underlying the Subpoenas and, indeed, to the language of the Subpoenas

themselves. Thus, for example, the Court specifically authorized a search for documents and

information relating to, inter alia, interviews (interview) of the Defendants (Steven, Steve, Gordon)

by Cognizant, which the Defendants argue was done in the context of the Government outsourcing

its investigation of potential bribes in India (India) to obtain a planning permit for the KITS facility

(KITS), as alleged by the U.S. Attorney’s Office for the District of New Jersey (DNJ), represented

by Assistant United States Attorneys Nicholas Grippo (Nick) and Osmar Benvenuto (Oz).

Likewise, the Court has stated that it will hold a hearing to determine whether outsourcing in fact

occurred in connection with Cognizant’s cooperation (cooperat!) with Government prosecutors




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(prosecut!) under DOJ policies, including the widely publicized Yates Memo (Yates). Searches

using these terms are not, then, part of a far-fetched fishing expedition.

       Nonetheless, although Cognizant represents to the Court that it has searched for the

Defendants’ names and used “expansive search terms to collect and review documents” (CTS Br.

at 17), even a cursory review of Cognizant’s February 26, 2021 letter memorializing its search

parameters reveals that, in truth, it has done nothing of the sort. For example, with respect to the

Defendants’ names, Cognizant only used the terms “Schwartz” and “Coburn,” completely

disregarding Defendants’ first names and nicknames, which are at least as likely to have been used

by colleagues and Cognizant’s counsel involved in the investigation. (See Lustberg Cert. Ex. A at

4). Moreover, though several of the Subpoenas’ requests extend beyond—and in some cases do

not even seek—direct communications with the Government, Cognizant limited each of its

searches of even internal Cognizant custodians by requiring that there be either a Government

email address in the To/From/CC/BCC fields or the name of a Government employee or agency

in the document. (Id.).

       Cognizant’s search and selection process has thus been overly narrow; at the very least, it

should be compelled to apply the additional search terms the Defendants have identified, all of

which are specifically and narrowly tailored to the Subpoenas’ requests.

II.    COGNIZANT SHOULD BE COMPELLED TO PRODUCE RESPONSIVE
       DOCUMENTS THAT IT IS IMPROPERLY WITHHOLDING BASED ON
       INVALID CLAIMS OF PRIVILEGE.

       Cognizant is not just seeking to limit its production of documents relevant to the

outsourcing inquiry by advancing an unduly narrow reading of the September 14 Order and Court-

issued Subpoenas. (Supra at I.B-C). It is also withholding responsive documents based on invalid

privilege claims, in some instances where the privilege never applied, and in other cases where it

may have applied but has been waived.


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       Cognizant clearly made a calculated, tactical decision to provide the Government with

specific, detailed and voluminous information obtained during its interviews (including mental

impressions of counsel), while at the same time deciding to withhold other information learned in

the same interviews. Cognizant has accordingly selectively invoked privilege in a way that has

presented a one-sided view of the underlying conduct. That selective invocation compels waiver

of the privilege, both as a matter of fairness and as a matter of law, and the breadth of Cognizant’s

disclosures to the Government makes that waiver applicable to documents related to the events

charged in the Indictment and other investigation-related materials.         At a bare minimum,

however—and as reflected in the cases cited in Cognizant’s own brief—the waiver extends to the

specific documents (notes and interview memos) that formed the basis for Cognizant’s extensive

and detailed oral disclosures to the Government.

       In their Moving Brief, the Defendants presented specific and concrete instances in which

Cognizant’s assertions of privilege created a false and misleading picture of the Defendants’

conduct. Specifically, the defense—which had access to a limited set of documents available to

Schwartz after his departure from Cognizant—showed that Cognizant produced documents and

invoked privilege in a way that deprived the Government (and by extension the defense) of

material information.




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(Lustberg Cert. Ex. DD-1).

       These are only two of several examples of Cognizant’s selective productions (and

redactions) to the Government, and their importance cannot be overstated. Particularly when

viewed together with the “interview downloads” that Cognizant provided to the Government, these

are concrete examples of a selective invocation of privilege that contributed to a one-sided account



different sources and therefore having different metadata. Those differences are likely attributable
to differences in time zones.


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of the relevant facts and operated to deprive Schwartz and Coburn of information critical to their

defense.

       Cognizant’s response to these documents—which represent only two examples among

many of Cognizant’s selective invocation of privilege—is to ignore them. These documents,

which go to the heart of the defense’s argument of selective invocation and waiver, are mentioned

only once, in a footnote, in Cognizant’s entire brief. (CTS Br. at 40 n.29). And even there,

Cognizant’s sole argument is that these documents were outside of its self-imposed “date range

relevant to the Garrity inquiry.” (Id.). But that date range cannot, of course, be used to justify

Cognizant’s improper and selective invocation of privilege, the issue here, and Cognizant’s other

attempts to defend its assertions of privilege ignore the defense’s arguments, the law, or both.16

       A.      Cognizant Does Not Dispute That It Provided the Government with Extensive
               Oral Downloads and Updates on “Key Developments.”

       In its Opposition Brief, Cognizant does not dispute that, as a factual matter, it provided the

Government detailed accounts of 42 interviews of 19 Cognizant employees. Nor does it dispute

that the information provided to the Government concerned both the subject matter of the

underlying allegations and Cognizant’s investigation of them. Now, however, in response to the

Defendants’ Subpoenas—which request documents relating to the very same subject matter (the

alleged misconduct and Cognizant’s investigation of it)—Cognizant asserts privilege to avoid

disclosure.




16
   Notably, even as Cognizant brushes aside these documents, it argues that “although [the Defense
Motion] is long on rhetoric, accusing Cognizant of advancing a particular narrative of events . . .
it is short on any particularized, concrete explanation of any ‘selective’ or ‘misleading’ conduct.”
(CTS Br. at 48). But both of the examples cited above are, of course, exactly such particularized
and concrete examples of Cognizant’s selective and misleading conduct, invoking privilege in
some instances but not others to suggest a particular narrative of events.



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       But the law in this circuit is clear: “privilege will be waived as to all communications on

the same subject” where strategic disclosures of privileged information to the Government

“disadvantage the disclosing party’s adversary by, for example, allowing the disclosing party to

present a one-sided story.” Westinghouse Elec. Corp. v. Republic of Philippines, 951 F.2d 1414,

1426 n.12 (3d Cir. 1991) (emphasis added).17 Here, Cognizant’s broad and one-sided disclosures

to the Government compel an accordingly broad waiver of privilege as to the same subject matter,

or, at a bare minimum, a waiver as to interview-related materials that formed the basis of

Cognizant’s downloads.

       B.      Cognizant’s Selective Disclosures of Privileged Information Trigger Broad
               Subject Matter Waiver Under Westinghouse.

       As noted, subject matter waiver occurs when one party has disadvantaged another by

presenting a “one-sided story” through the selective invocation of privilege. See Westinghouse,

951 F.2d at 1426 n.12.       In Westinghouse, like here, the company conducted an internal

investigation into allegations that it had obtained contracts by bribing foreign officials, and

thereafter disclosed certain otherwise-privileged documents to the DOJ. Id. at 1417.

       The Third Circuit found Westinghouse’s strategic disclosures to be incompatible with the

underlying goals of the attorney-client privilege and work product protection, and rejected

Westinghouse’s later attempts to shield certain investigation-related material as privileged, finding

that any previously existing protection had been waived. Id. at 1425, 1429. As directly applicable

here, the court stated that, if the selective nature of those disclosures acted to “disadvantage”



17
  This standard for subject matter waiver is embodied in Federal Rule of Evidence 502. See Fed.
R. Evid. 502(a) advisory committee’s note (explaining that subject matter waiver of privilege or
work product is appropriate in “those unusual situations in which fairness requires a further
disclosure of related, protected information, in order to prevent a selective and misleading
presentation of evidence to the disadvantage of the adversary” where “a party intentionally puts
protected information into the litigation in a selective, misleading and unfair manner”).


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another party, an even broader waiver—extending to “all communications on the same subject”—

would apply. Id. at 1426 n.12. This case presents exactly the circumstances described in

Westinghouse18 and gives rise to the full waiver contemplated in that case to address the unfairness

of an adverse party’s selective presentation of the facts. See also In re Teleglobe Commc’ns Corp.,

493 F.3d 345, 361 (3d Cir. 2007) (“When one party takes advantage of another by selectively

disclosing otherwise privileged communications, courts broaden the waiver as necessary to

eliminate the advantage.”).

       Unable to meaningfully distinguish Westinghouse, Cognizant simply ignores it, relying

instead on Freedman v. Weatherford Int'l Ltd., No. 12 Civ. 2121 (LAK) (JCF), 2014 WL 3767034,

at *4 (S.D.N.Y. July 25, 2014). But in Freedman the court found “no indication that [the party

asserting privilege] sought to use disclosure [to the SEC] to their advantage in this and related

litigation. To the contrary, they resisted its production.”19 Thus, in Freedman, unlike this case,

there was no suggestion, let alone evidence, of selective waiver causing disadvantage to the party

seeking disclosure, and the court declined to order the production of material beyond the scope of

what had already been produced to the SEC. Id.

       Here, by contrast, there is already significant evidence that Cognizant selectively presented

the Government with a curated and one-sided narrative in order to secure favorable treatment. So,


18
   Cognizant’s description of Westinghouse as a case where “waiver [was] found only as to
documents provided to DOJ and SEC,” (CTS Br. at 49), is misleading, in that the moving party
did not seek documents beyond those that were disclosed to the DOJ and SEC; the case certainly
did not thereby set a limit on the scope of privilege waiver. Westinghouse, 951 F.2d at 1420. In
any event, Cognizant to this day is still asserting privilege over the category of documents that
were ordered produced in Westinghouse, including interview memos read to the DOJ and SEC.
19
  Notably, the court in Freedman ordered production of materials disclosed to the SEC and any
“underlying” materials referenced therein, finding waiver of attorney-client privilege and work
product protection based on disclosures made by the company’s Audit Committee to the SEC. See
2013 WL 6628964, at *2. Thus the court, without addressing selective disclosure, ordered the
production of many of the same documents Cognizant asserts privilege over here. Id.


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for example, the defense has shown that Cognizant redacted evidence that Schwartz originally

reported the FCPA issue to Cognizant’s Board of Directors and the Audit Committee and thereafter

proactively kept them updated on the same, and that Cognizant failed to produce documents in

which Schwartz encourages a supposed co-conspirator to cooperate with the investigation. There

is, accordingly, every reason to apply the broader waiver described in Westinghouse, which is

binding Third Circuit precedent.

       Cognizant next tries to distinguish Westinghouse by arguing that Cognizant is “plainly not

Defendants’ adversary,” and that a finding of waiver would therefore be somehow inappropriate.

(CTS Br. at 48). But that claim borders on the absurd. Any fair reading of the record available

here—limited as it is by Cognizant’s invalid invocations of privilege—shows that Cognizant,

under a regime that encouraged companies to “serve up” executives, provided the Government

with a roadmap to the Defendants’ indictment. (Def. Br. at 12-13). In arguing (in a footnote) that

these facts are outside the scope of a potential Garrity motion (which as set forth above, is both

irrelevant to the privilege analysis and wrong as a matter of understanding the scope of the

Subpoenas), Cognizant fails to address specific and concrete evidence of its one-sided presentation

of privileged information. Further evidence of Cognizant’s posture towards the defendants can be

found in Cognizant’s Opposition Brief, which reads as though it were drafted by the Government,

rather than a truly disinterested third party attempting to challenge a subpoena. On this record,

Cognizant cannot fairly claim that it is not actually adverse to the Defendants.

       C.      Cognizant Cannot Move to Quash the Subpoenas on the Basis of Privilege and
               Work Product Protection That It Has Waived.

       Cognizant’s Cross-Motion to Quash does not raise any distinct arguments, beyond

reiterating its vague and unsupported privilege claims. Ignoring Westinghouse, Cognizant moves

to quash based on distinguishable cases that do not involve issues—much less findings—of third-



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party privilege waiver. (See CTS Br. at 34, 43 (citing In re Grand Jury Investigation, 599 F.2d

1224, 1229-30 (3d Cir. 1979) (granting motion to quash, but without evaluating defendants’ waiver

arguments); SEC v. Herrera, 324 F.R.D. 258, 267 (S.D. Fla. 2017) (finding, without discussion of

waiver, that defendants were not entitled to additional interview materials beyond those disclosed

to the SEC); Robinson v. Time Warner, Inc., 187 F.R.D. 144, 146 (S.D.N.Y. 1999) (evaluating

waiver arguments based on party’s efforts to put privileged materials “at issue” in the case, not

based on disclosure to a third party))). None of these cases shed light on the issue raised here:

whether (and, if so, to what extent) Cognizant’s broad disclosures to the Government effect a

waiver. Certainly there is nothing in those cases that supports an argument that there was no such

subject matter waiver here, where so obviously there was.

       Cognizant’s reliance on United States v. Blumberg is also misplaced. (See CTS Br. at 33-

34 (citing No. 14-458 (JLL), 2017 WL 4790382, at *3 (D.N.J. Oct. 20, 2017))). As an initial

matter, the Blumberg defendant’s Rule 17(c) subpoena did not seek documents directly from

ConvergEx, the company to which the defendant claimed the Government improperly outsourced

its investigation. Rather, the defendant sought documents from a third-party shareholder who was

interviewed as part of the investigation, and did so only after ConvergEx had already produced

“significant discovery”—in the form of “notes . . . interview memoranda, and meeting records”—

in preparation for the outsourcing hearing. 2017 WL 4790382, at *1, 7. The Blumberg court

accordingly found that the defendant was not entitled to a duplicative production of the same

documents, which had largely already been produced by ConvergEx.

       Here, by contrast, Cognizant has not produced the requested documents, either to the

Government or to the defense; indeed, the documents that Cognizant has already produced to the

Government were expressly carved out of the Subpoenas. (See ECF No. 96 at 15 (finding




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Defendants’ Subpoenas compliant under the Nixon standard and noting that “Schwartz has

attempted to avoid redundancy, requesting items only ‘to the extent not produced to the USA or

DOJ’”)). Rather, the documents here sought are precisely of the type ConvergEx produced ahead

of the outsourcing hearing in that case.

       It is true that in Blumberg, the court found that the defendant was not entitled to documents

beyond what had already been produced to the Government, but that is only because the defendant

did not make the showing required by Westinghouse that he had suffered any disadvantage from

ConvergEx’s disclosures. As a result, the broad subject matter waiver contemplated by the Third

Circuit in Westinghouse was not triggered, and the court did not order production beyond the

interview memos and meeting notes that had already been produced. See Blumberg, 2017 WL

4790382, at *7 (citing United States v. Misquitta, No. CRIM. 10-185, 2011 WL 1337098, at *2

(W.D. Pa. Apr. 7, 2011) (“Although withholding additional information can lead to a waiver of

privilege if Defendant is disadvantaged by this withholding, that issue has not been briefed or

argued by either party.”)). In Blumberg, in other words, the defense already had much of the

material sought here.

       By contrast, Cognizant’s selective disclosures here clearly waived privilege and work

product protection as both the disclosed materials themselves and all materials relating to the same

subject matter. See In re Martin Marietta Corp., 856 F.2d 619, 624 (4th Cir. 1988) (recognizing

that a subpoena should be quashed or modified if it calls for privileged matter, except when the

privilege has been waived by disclosure). The authorities upon which Cognizant itself relies make

clear that a motion to quash a Rule 17(c) subpoena cannot be based on privilege or work product

protection that has been waived. (CTS Br. at 34 (citing United States v. Reyes, 239 F.R.D. 591,

603, 606 (N.D. Cal. 2006) (quashing subpoena on the basis of evidentiary concerns, but rejecting




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alternative grounds to quash on the basis of privilege and work product assertions, where “[i]n

accord with every appellate court that has considered the issue in the last twenty-five years,”

selective disclosures to the Government waived such privilege))). Cognizant’s motion to quash

must accordingly be denied.

        D.     Cognizant’s Oral Downloads and Communications with the Government
               Result in Waiver as to Documents Related to the Events Charged in the
               Indictment And Other Investigation-Related Materials – Especially
               Underlying Interview Notes and Memoranda.

        At page 47 of its Opposition, Cognizant essentially acknowledges that it “may be required

to turn over portions of their memoranda of Defendants’ interviews to the extent those memoranda

were read out to the Government.” (CTS Br. at 47). But even these documents, over which

privilege has been waived under any reading of the case law, have not been produced. And, as

discussed below, Cognizant’s waiver is not limited to the specific information provided to the

Government through its oral downloads; the waiver extends, at the very least, to the full notes and

draft memoranda regarding the interviews.

        Moreover, Cognizant has continued to assert privilege over other documents and

information relating to its internal investigation and events that form the basis of the charges in the

Indictment, over which privilege has unquestionably been waived.             Specifically, Cognizant

continues to assert privilege over documents and information relating to other interviews that it

conducted, responsive emails relating to its internal investigation, the April 21 and 22, 2014

telephone calls on which Schwartz and Coburn are falsely accused of authorizing a bribe, and over

August 2016 conversations in which Schwartz is falsely said to have demonstrated “consciousness

of guilt.”




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               1.      Cognizant’s Waiver Extends to Its Interview Memoranda and Notes.

       Cognizant’s oral disclosures to the Government—as reflected in the letters summarizing

these downloads provided to the defense by the Government—were extensive, selective, and

provided for the purpose of obtaining cooperation credit.20 As such, they effected a broad waiver

that extends, at the very least, to the full set of interview memoranda and attorney notes underlying

the Cognizant employees’ interviews that were orally disclosed to the Government.

       The law in this regard is clear: courts frequently hold that when companies provide oral

summaries of interviews conducted during an investigation to the Government, those disclosures

waive attorney-client privilege or work product protection over underlying notes and related

memoranda. See In re Banc of Ca. Sec. Litig., No. SA CV 17-00118-AG (DFMx), 2018 WL

2373860, at *1 (C.D. Cal. May 23, 2018); SEC v. Herrera, 324 F.R.D. 260;21 S.E.C. v. Vitesse

Semiconductor Corp., No. 10 CV 9239 (JSR), 2011 WL 2899082, at *3 (S.D.N.Y. July 14, 2011).


20
   As but one example of its selective disclosures, Cognizant admits that it withheld as privileged
from its oral downloads to the Government certain statements made in the Defendants’ interviews.
(See e.g., Lustberg Cert. Ex II (June 24, 2019 DLA Download letter at 68) (“Schwartz was asked
about DLA Piper’s internal investigation. At the time DLA provided this information to the
Government, DLA stated that the company is asserting privilege with respect to this.”)). This
effort to selectively assert privilege occurred in the face of the fact that Cognizant had otherwise
disclosed without reservation Schwartz’s interview testimony “about DLA Piper’s internal
investigation,” elsewhere in the downloads. (See id. at 66, 68-69, 72, 78) (describing Schwartz’s
interview testimony regarding his role in the internal investigation and Schwartz’s involvement in
earlier interviews of alleged co-conspirator Srimanikandan Ramamoorthy—as well as the
substance of those interviews—while Schwartz was still a part of the investigation)).
21
   Cognizant’s attempt to distinguish SEC v. Herrera is particularly unavailing. (CTS Br. at 47).
In Herrera, the court held that oral summaries of witness interviews provided to the SEC effected
waiver as to the underlying interview notes and memoranda of the disclosed interviews, but not as
to other witness interviews that were omitted from the oral downloads. 324 F.R.D. at 264. But
the Herrera defendants sought disclosure of those additional interview memos and notes only
because they had been disclosed to a third-party auditor, not on the basis of subject matter waiver.
By contrast, the Defendants here assert that Cognizant’s oral downloads to the Government
effected broad subject matter waiver over Cognizant’s internal investigation, including all
interviews of Cognizant employees, whether or not those particular interviews were disclosed
through oral downloads.

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         The cases upon which Cognizant relies to contest the disclosure of underlying interview

memoranda and attorney notes due to waiver are distinguishable in that they did not involve

selective oral disclosures of interview summaries to the Government and, critically, did not

identify concrete examples of the disadvantage to the defendants that resulted from those

disclosures, which is the trigger for subject matter waiver.

         For example, in SEC v. Schroeder, cited by Cognizant, (CTS Br. at 45), the court found

“nothing in the record to suggest that there had been any impropriety” in the form of privilege

manipulation or otherwise, when the investigating company disclosed meticulously prepared

“final” memoranda from all of the internal interviews it conducted directly to the SEC. No. C07-

03798 JW (HRL), 2009 WL 1125579, at *1, 7-8 (N.D. Cal Apr. 27, 2009). Because the defendants

could not show that they had been disadvantaged through these disclosures, the court found no

subject matter waiver that would entitle the defendants to underlying notes which had not been

disclosed to the SEC.22 See id. at *7. By contrast, where an investigating company provided the

SEC with selective oral “downloads” of internal interviews it conducted, the court in Vitesse

compelled production of handwritten underlying notes that had not been produced to the SEC in

order to “level the playing field” for the defendants. 2011 WL 2899082, at *3. There, the court

found that there was a likelihood that selective disclosure to the Government might disadvantage

the defendants in their litigation against the Government. So too here. (See Def. Br. at 70).23



22
   Further, the defendants in Schroeder had already been provided the same written “final”
memoranda from those interviews that had been provided to the SEC—memoranda that had been
prepared by attorneys who had been present at the interviews themselves. Id. at *5. Cognizant
concedes that the Defendants in this action have been provided no comparable record of the
interviews conducted. The Defendants have received only Government summaries of DLA’s oral
accounts of select portions of its interview memoranda—furthering their disadvantage here. (See
CTS Br. at 45).
23
     The instant case is also fundamentally distinct from John Doe Co. v. United States, 350 F.3d


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       United States v. Treacy, also cited by Cognizant, actually undercuts its position as to the

discoverability of underlying interview notes and memoranda. (CTS Br. at 45-46 (citing No. S2

08 CR 366 (JSR), 2009 WL 812033 (S.D.N.Y. Mar. 24, 2009)). In Treacy, the court found that

Akin Gump had not waived privilege as to certain interview memoranda when it provided oral

presentations about its internal investigation to the Government because “the overwhelming bulk”

of those statements were “summaries, impressions, and conclusions . . . that did not convey any

specific information directly attributable to any of these witnesses” and were not even “organized

in a witness-specific fashion.” 2009 WL 812033, at *2-3. Here, by contrast, the oral downloads

at issue conveyed detailed and selective factual information attributable to specific Cognizant

employees as provided during identified interviews.24

       And in Treacy, where Akin Gump did provide detailed oral recitations of an interview to

the Government, the court ordered the firm to furnish the underlying memorandum. Id. at *1.

That is, where an investigating firm makes selective oral disclosures of witness-specific interviews

to the Government, as Cognizant did here, both Treacy and Vitesse require that full underlying

memoranda and notes be produced, especially where the inherently selective nature of the oral

downloads at issue creates an information disparity that may serve to disadvantage another party.




299, 303 (2d Cir. 2003), another case cited by Cognizant, because of the evidence of Cognizant’s
intentional, selective invocation of privilege in a way that unfairly disadvantaged the Defendants.
(CTS Br. at 45). In Doe, the Government sought the attorney notes underlying a letter the
defendant company had submitted to the Government summarizing discussions its counsel had
with ATF agents. The court found that the Government was not entitled to the notes sought on a
waiver theory because “[i]t is impossible to see how the U.S. Attorney is subjected to any
unfairness as the result of its own receipt of the Letter.” John Doe Co., 350 F.3d at 304.
24
   (See, e.g., Lustberg Cert. Ex. II (P. Ganesh’s DLA Download) (relaying information gathered
from DLA Piper’s interviews of P. Ganesh in a witness-specific fashion that directly attributes
statements to him and specifically noting that the Government received information about some,
but not all, of DLA’s P. Ganesh interviews)).


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       Whether or not Cognizant’s selective invocation of privilege provides for a broader subject

matter waiver—which the record shows it does—there is no reasonable reading of the case law

that allows Cognizant to assert privilege over notes and interview memos already orally disclosed

to the Government.

               2.      Cognizant’s Selective Disclosures Extend its Waiver to Documents and
                       Information Concerning the Events That Form the Basis of the
                       Charges in the Indictment and Other Investigation-Related Materials.

       Although, as noted, Cognizant essentially concedes that the oral downloads it made to the

Government require it to turn over “underlying memoranda or notes of [employee] interview[s]

that were read to the Government,” (CTS Br. at 47), it has not yet produced those memoranda or

notes, and should be ordered to do so. But Cognizant’s waiver also extends to the subject matter

of the downloads that were shared with the Government: the events that form the basis of the

charges in the Indictment (including, but not limited to, responsive materials relating to activities

on key dates); other interviews that DLA conducted; and responsive emails relating to its internal

investigation. The record also establishes that Cognizant’s counsel made additional and substantial

oral disclosures about the subjects that form the basis of the indictment through meetings and

phone calls with the Government in which Cognizant’s counsel shared “key developments” and

other privileged materials. These communications also result in waiver of the privilege with

respect to the subjects of those disclosures.

       In arguing that its waiver should be limited, Cognizant first claims that “Defendants have

not cited any authority suggesting that the scope of that waiver extends to either (1) portions of the

memoranda not read to the Government, or (2) memoranda of other employees’ interviews.” (Id.).

Cognizant is wrong, and notably fails to address the Defendants’ cited cases in which courts

compelled disclosure of documents and information beyond what was read to the Government.

(Def. Br. at 65-66). So, for example, Cognizant does not address:


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          Martin Marietta Corp., which held that, because the investigating company made
           disclosures “in a direct attempt to settle active controversies” with the United States
           Attorney and the Department of Defense, it waived privilege not only as to the materials
           actually disclosed, but also as to “all of the company’s non-opinion work-product
           relating to the investigation that it conducted.” 856 F.2d at 625-26 (citing United States
           v. Nobles, 422 U.S. 225, 238 (1975)).

          Gruss v. Zwirn, in which the investigating company was compelled to produce
           “interview notes and summaries” underlying several PowerPoint presentations
           provided to the SEC, regardless of whether those precise notes and summaries were
           themselves read to the Government. No. 09 CIV. 6441(PGG) (MHD), 2013 WL
           3481350, at *13 (S.D.N.Y. July 10, 2013), or;

          In re Sealed Case, in which the court ordered disclosure of “notes [] material to the
           investigation” and other documents identified in a report made to the SEC—including
           documents that had not been shared with the SEC—on a subject matter waiver theory,
           reasoning that such additional disclosure was necessary for a “fair evaluation of the
           representations” that the company made to the SEC. 676 F.2d 793, 824 (D.C. Cir.
           1982).

       Indeed, and as noted, courts in this circuit routinely recognize that the selective invocation

of privilege engenders a subject matter waiver that captures the subjects addressed in the materials

shared with third parties. See V. Mane Fils S.A. v. Int'l Flavors & Fragrances, Inc., 249 F.R.D.

152, 154-55 (D.N.J. 2008) (use of privilege as a “sword and a shield” entitled disadvantaged party

to “any and all of the documents surrounding” opinion letters drafted by counsel, “as well as the

opinions themselves”); In re Hum. Tissue Prod. Liab. Litig., 255 F.R.D. 151, 160-61 (D.N.J. 2008)

(compelling disclosure of broader set of documents because a party “cannot on the one hand

implicitly rely on the fruits of [its] background investigation” for its own purposes “while at the

same time depriving Plaintiffs of access to this information on the basis of privilege”); see also In

re Teleglobe Commc’ns Corp., 493 F.3d at 378 (endorsing “disadvantage” test for broad subject

matter waiver); United States v. Rockwell Int’l, 897 F.2d 1255, 1265 (3d Cir. 1990) (endorsing

subject matter waiver in instances of selective redaction); Shire LLC v. Amneal Pharms., LLC, No.




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2:11-cv-03781 (SRC) (CLW), 2014 WL 1509238, at *6 (D.N.J. Jan. 10, 2014) (reiterating

“disadvantage” test for broad subject matter waiver).25

       Here, the interviews that were orally downloaded to the Government and the

communications of other privileged information by Cognizant’s counsel concerned the events that

form the basis of the charges in the Indictment—including, but not limited to, the delays regarding

the KITS Planning Permit, the April 2014 and August 2016 conversations, and the variation

requests that were prepared for the KITS project. It also waived privilege over investigation-

related materials, such as the content of the other interviews DLA conducted and communications

relating to its investigation. Based on the cases cited above, the disclosures of this information

waived the privilege with respect to documents and information concerning these subjects. Unable

to meaningfully distinguish this precedent, Cognizant pivots to the irrelevant argument that the

Defendants do not need documents relating to the events that form the basis for the charges in the

Indictment because they already have “all the information from Cognizant regarding employee

interviews” that was provided to the DOJ. (CTS Br. at 49). The argument misses the point for at

least two reasons.

       First—and even assuming that the Defendants are in possession of the same set of materials

that Cognizant provided to the Government—there is compelling evidence that Cognizant



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   Cognizant’s description of S.E.C. v. Beacon Hill Asset Mgmt. LLC, 231 F.R.D. 134, 143
(S.D.N.Y. 2004), is misleading, insofar as it suggests that the materials that were disclosed to the
SEC were not related to the same subject matter as those sought by the defendants, and thus could
not serve as a basis for subject matter waiver. (CTS Br. at 45). In Beacon Hill, the court rejected
the SEC’s attempt to obtain materials from Beacon Hill based on an argument that Beacon Hill
had effected a subject matter waiver through public disclosures, finding that the SEC had “made
no attempt” to connect the material disclosed to the subject matter of the materials sought. Id.
Unlike this case, Beacon Hill’s prior disclosures to the public, shareholders, and the SEC were
made in completely different contexts and did not clearly relate to the same subject as the
additional documents requested, as a result of which subject matter waiver did not apply to compel
their disclosure.


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selectively withheld meaningful evidence from both the Defendants and the Government, such

that providing the defense the same selective disclosures it provided to the Government would not

solve the problem. Second, the point of this motion—and of a defendant’s right to subpoena

documents and otherwise mount a defense more generally—is not to insure parity of information

as between the Government and the defense. The point is that Cognizant is in possession of

material concerning its investigation and events that form the basis of the charges against the

Defendants, that any privilege claimed over that material has been waived, and that the law

therefore requires that it be produced. That is the point that Cognizant misses, and fails in its

Opposition to meaningfully address.

       Cognizant next argues that it has not, as a factual matter, presented a “one-sided story” that

has disadvantaged the defense. Westinghouse, 951 F.2d at 1426 n.12. But as demonstrated above

and in the Defendants’ Moving Brief, that is exactly what is has done. The record amply supports

a conclusion (or at the very least a strong inference) that Cognizant has waived privilege and

disclosed information to the Government in a way that is both one-sided and designed to curry

favor with the Government. That selective waiver has created an unfairness that the Court can and

should correct by compelling Cognizant to produce documents and information concerning the

subject matter of the disclosed interviews and other oral disclosures made by Cognizant’s

counsel—the events that form the basis of the charges in the Indictment (including on key dates in

April 2014 and August 2016), interview memoranda and attorney notes of all interviews DLA

conducted, and responsive emails relating to Cognizant’s internal investigation, regardless of

whether they were disclosed to the Government. See In re Sealed Case, 676 F.2d at 825 (finding

“substantial likelihood” that company had attempted to “manipulate its privilege[] by withholding

vital documents while making a great pretense of full disclosure of their contents [to investigating




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agencies]. It does not deserve the protections enjoyed by those who use the adversary system for

its legitimate ends”).

       E.      Cognizant’s Admissibility Arguments are Unfounded.

       Unable to distinguish the Defendants’ cases compelling disclosure of underlying interview

materials in analogous circumstances, Cognizant argues that the “interview memoranda created by

DLA . . . are not discoverable under Rule 17” and are inadmissible. (CTS Br. at 50). Cognizant

is wrong both in articulating the relevant standard and in applying it.

       First, while Rule 17(c) is intended for use in procuring evidentiary materials, “[t]hat is not

to say that the materials thus subpoenaed must actually be used in evidence. It is only required

that a good-faith effort be made to obtain evidence.” Bowman Dairy Co. v. United States, 341

U.S. 214, 219-20 (1951). This means simply that “[t]he test for enforcement is whether the

subpoena constitutes a good faith effort to obtain identified evidence rather than a general ‘fishing

expedition’ that attempts to use the rule as a discovery device.” United States v. Cuthbertson, 630

F.2d 139, 144 (3d Cir. 1980) (citing Bowman, 341 U.S. at 220-21); see also United States v. Gas

Pipe, Inc., No. 3:14- CR-298-M, 2018 WL 5262361, at *3 (N.D. Tex. June 18, 2018) (“Defendants

have shown with adequate specificity that the documents sought . . . would be relevant and may

be admissible . . . where Defendants have set forth what the [would-be subpoenaed] materials

contain”) (citation and quotation omitted; alteration in original); Messercola, 701 F. Supp. at 485-

86 (“[T]he evidentiary justification for this subpoena . . . [is] that the photograph was evidentiary

and relevant to establish the relationship between Messercola and [the subpoena recipient]”).

       Defendants here seek to obtain information that, the record shows, provided the blueprint

for (and the backbone of) the Government’s subsequent investigation, which the Government

acknowledges consisted of re-interviewing some (but not all) of the witnesses interviewed by

Cognizant and essentially no one else.       So, for example, the Government, after receiving


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downloads from DLA, did not interview many witnesses who contradicted relevant parts of

Cognizant’s narrative). 26

       Moreover, this Court has already made the modifications necessary to ensure that the

Subpoenas comply with Rule 17. (Def. Br. at 45 (citing ECF No. 96 at 15)). Specifically, this

Court noted that “there is reason to believe [the requested documents] would be [] admissible in a

hearing on a potential motion to suppress defendants’ statements in interviews.” (ECF No. 96 at

15). And indeed, Cognizant’s suggestion that the materials at issue here constitute inadmissible

hearsay (CTS Br. at 50), is simply incorrect: hearsay is generally admissible at pretrial hearings

to determine the admissibility of evidence. United States v. Raddatz, 447 U.S. 667, 679 (1980)

(“At a suppression hearing, the court may rely on hearsay and other evidence, even though that

evidence would not be admissible at trial.”); United States v. Johnson, No. CR 19-645 (SRC), 2020

WL 2611596, at *2 n.4 (D.N.J. May 22, 2020) (“Pursuant to Federal Rule of Evidence 1101(d)(1),

the Court may admit hearsay testimony given at the pre-trial evidentiary hearing to determine

questions of fact raised by the instant motion to suppress.”).27 For all of these reasons, the



26
   As another example of the disturbing interplay between Cognizant’s selective disclosures and
the Government’s willingness to rely on them, the Government does not itself appear to have
interviewed P. Ganesh, notwithstanding the fact that Cognizant informed the Government that it
did not include certain of P. Ganesh’s interviews in the download, (see Lustberg Cert. Ex. II (P.
Ganesh’s DLA Downloads at 24 n.1), and that, in those interviews for which the Government did
receive oral downloads, P. Ganesh contradicted the allegations in the Indictment. (See id. at 27-
29).
27
   Cognizant’s cases about admissibility are irrelevant inasmuch as they concern evidentiary rules
in effect at trial rather than in pre-trial proceedings. See United States v. Cuthbertson, 651 F.2d
189, 192 (3d Cir. 1981) (evaluating Rule 17 subpoena seeking to obtain interview materials for
use at trial); United States v. Brown, No. 2:14-mj-7258, 2015 WL 8375184, at *1 (D.N.J. Dec. 8,
2015) (same); United States v. Huiltron Sanchez, No. Cr. S-05-0443 WBS, 2007 WL 9606812, at
*1-2 (E.D. Cal. Jan. 10, 2007) (same). Moreover, even were DLA Piper’s underlying interview
notes and memoranda to be held to the same admissibility standard as they would be at trial (which
they would not be), they clearly would be admissible, at the very least, to impeach those
interviewees’ statements, should they testify inconsistently at trial. Certainly, this Court may order

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underlying interview memoranda and attorney notes generated during all of DLA’s internal

investigation interviews are fully discoverable under the Defendants’ Rule 17 Subpoenas, and

should accordingly be disclosed.

       F.      Cognizant’s Various Other Attempts to Withhold Responsive Documents Are
               Unpersuasive.

       Cognizant next offers arguments to the effect that it has not in fact waived privilege—and

is therefore not subject to a broader privilege waiver—because the communications it did share

with the Government are not privileged to begin with, or because whatever privilege existed is

subject to the crime-fraud exception. Both arguments are without merit.

               1.      Cognizant Has Waived Privilege Over the April 2014 and August 2016
                       Communications.

       In their Moving Brief, the Defendants argued that Cognizant’s oral downloads to the

Government effected a waiver and that Cognizant’s disclosure of a selective set of materials

concerning Schwartz’s April 2014 and August 2016 communications waived privilege over related

materials. (Def. Br. at 74-75). In response, Cognizant argues that because there has been no

“finding” that the April 2014 and August 2016 communications were privileged, the disclosure of

their content to the Government cannot form the basis for waiver. (CTS Br. at 41-43).

       But Cognizant cannot be its own unchecked arbiter of its invocations of privilege.

Certainly, and at a bare minimum, the record here—even without the additional documents

sought—already shows that Cognizant has simultaneously (i) provided at least arguably privileged

material to the Government (for example by providing notes of privileged communications



them produced pretrial to “aid its preparation for ruling on whether these statements will be
produced to the defendants at trial [in] an attempt to avoid unnecessary delay and disruption of the
trial.” Cuthbertson, 630 F.2d at 144-45 (finding no abuse of discretion by district court when it
compelled disclosure of interview materials sought in a Rule 17 subpoena for pretrial in camera
review).


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between attorney and client); and (ii) withheld and selectively redacted other documents and

information relating to precisely the same subject matter based on privilege. (Def. Br. at 75-76).

       In response, Cognizant first argues that the April 2014 communications (in which the

Defendants are alleged to have approved a bribe) and the August 2016 communications (in which

the Defendants react to being removed from Cognizant’s internal investigation) are not privileged

to begin with, such that producing them does not constitute a waiver.

       With respect to the April 2014 communications concerning authorization of the alleged

bribe, even the Government’s version of events is centered around a set of facts that involve

Schwartz, Cognizant’s Chief Legal Officer, being looped into a conversation about whether

Cognizant could take the legal position that L&T was responsible for confronting the Indian

Government official about the demanded bribe.            There can be no question that these

communications—which called for the interpretation of contractual language—were otherwise

privileged, and that Cognizant waived that privileged in sharing its version of the conversation

with the Government and allowing its employees to testify about it.28 See Ind. ¶¶ 3, 11-15.

       There are, in short, two possibilities, either of which requires that the documents related to

the April 2014 and August 2016 communications be produced. On the one hand, if these

documents and the communications they reflect are not privileged, there is no basis on which

Cognizant can withhold documents relating to the same subject matter. If, on the other hand, the

communications are privileged, Cognizant’s has waived that privilege by producing documents

reflecting those communications and allowing its employees to testify about them.              What

Cognizant cannot do is have it both ways: waiving privilege over certain communications



28
  Cognizant does not even attempt to explain how the April 2014 note that Schwartz allegedly
authored (quoted only in part by Cognizant at (CTS Br. at 8) and reproduced in full at Lustberg
Cert. Ex. MM) fails to reflect legal advice.


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concerning a particular subject matter and then asserting it over other communications involving

the very same subject matter.

               2.      Cognizant Has Not Even Attempted to Show How the Crime-Fraud
                       Exception Applies.

       Cognizant next argues, in the alternative, that “it appears” that the April 2014 and August

2016 communications are subject to the crime-fraud exception such that their disclosure does not

effectuate a waiver. (CTS Br. at 42). But Cognizant—both hedging and engaging in theoretical

musing with its use of the phrase “it appears”—does not even attempt to flesh out how these

communications are purportedly covered by the crime fraud exception, i.e., how the elements of

that exception have been met. See In re Grand Jury Subpoena, 745 F.3d 681, 693 (3d Cir. 2014)

(“[F]or advice to be used ‘in furtherance’ of a crime or fraud, the advice must advance, or the client

must intend the advice to advance, the client’s criminal or fraudulent purpose . . . The advice

cannot merely relate to the crime or fraud.”); In re Grand Jury, 705 F.3d 133 (3d Cir. 2012) (noting

that the standard for showing that “there is a reasonable basis to suspect that the privilege holder

was committing or intending to commit a crime or fraud . . . is intended to reasonably demanding”);

United States v. Trenk, 385 F. App’x 254, 257 (3d Cir. 2010) (noting that, even if the party seeking

to apply the exception has made the initial showing, the decision “whether to apply the crime-

fraud exception is a separate, more demanding undertaking”) (emphasis in original); In re Grand

Jury Investigation, 445 F.3d 266, 274 (3d Cir. 2006) (“The burden to make the necessary showing

for the crime-fraud exception falls on the party who seeks application of the exception.”).

       Cognizant’s musings are in any event irrelevant. Again, there are only two possibilities:

either the crime-fraud exception applies to the 2014 and 2016 communications, in which case all

communications falling under the exception should be produced, or it does not, in which case the

privilege was waived with production. Cognizant cannot have it both ways.



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               3.     The 502(d) Order Has No Bearing on Cognizant’s Waiver as to Third
                      Parties.

       Once again simply ignoring arguments that it cannot rebut, Cognizant does not

meaningfully engage with the Defendants’ arguments based on the text, legislative history, and

application of Federal Rule of Evidence 502. Simply put, the Rule 502(d) Order between

Cognizant and the Government does not bear upon waiver as to third parties like the Defendants,

and Cognizant’s arguments to the contrary, (CTS Br. at 48), find no support in the law.

       First, and as a threshold matter, Cognizant cannot plausibly claim the protection of a Rule

502(d) Order for documents produced before the Order was signed. The chronology is clear:

Cognizant and the Government entered into an agreement to limit the waiver of privileged

communications as between them on April 26, 2018, and Judge Salas endorsed that agreement on

April 30, 2018 by way of a Rule 502(d) Order. The Order was not retroactive, and therefore had

no effect on Cognizant’s waiver of privilege and work product protection for subjects disclosed to

the Government prior to April 30, 2018, including the subjects covered in the oral downloads of

the interviews of Cognizant employees (including the Defendants); documents relating to the April

21 and 22, 2014 calls in which the Defendants are alleged to have approved a bribe; and

communications and documents relating to conversations in 2016 when Schwartz and Coburn

were relieved of any oversight over the internal investigation. (Def. Br. at 74-76). Cognizant has

not produced these documents and has not sought to explain how the waiver could be affected by

a non-retroactive order that did not exist when the documents were produced.

       Second, Cognizant’s arguments concerning documents produced after the entry of the Rule

502(d) Order—again relegated to a footnote (CTS Br. at 48 n.21)—misconstrue the language,

purpose and application of the Rule. Specifically, as Defendants have argued (Def. Br. at 73):

          The legislative history and application of Rule 502 clearly indicate that the Rule was
           drafted to protect against privilege waivers caused by inadvertent disclosures, not


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           intentional ones. (Id. at 73); Hostetler v. Dillard, No. 3:13-CV-351-DCB-MTP, 2014
           WL 6871262, at *4 (S.D. Miss. Dec. 3, 2014) (“Although Fed. R. Evid. 502(d) is not
           expressly limited to unintentional disclosures, the purpose and intent of Rule 502 is to
           protect litigants from inadvertent disclosures.”).

          The few courts that have found that Rule 502 allows for agreements and orders
           governing the effect of an intentional disclosure—including the cases cited by
           Cognizant—have done so in limited circumstances, not present here, in which
           disclosure was either judicially compelled or mandated by Federal Rule of Civil
           Procedure 26. See, e.g., Greene v. Philadelphia Hous. Auth., 484 F. App’x 681, 686
           (3d Cir. 2012) (“[T]he judicially-compelled disclosure of information, later determined
           to be privileged, may not result in a waiver of the privilege.”); Whitaker Chalk Swindle
           & Sawyer, LLP v. Dart Oil & Gas Corp., No. 408-CV-684-Y, 2009 WL 464989, at *4
           (N.D. Tex. Feb. 23, 2009) (ordering that disclosures that were required by Fed. R. Civ.
           P. 26(a)(1) be made without privilege being waived); In re Processed Egg Prod.
           Antitrust Litig., No. 08-MD-02002, 2014 WL 6388436, at *6-8 (E.D. Pa. Nov. 17,
           2014) (holding that Rule 502 permitted limited intentional disclosures pursuant to a
           settlement agreement between the parties in the MDL context).

       Finally, in criminal cases, courts have endorsed Rule 502(d) orders only post-indictment,

such that the defendants in those cases had an opportunity to challenge the entry of those orders.

See, e.g., United States v. Sorrentino, 14-cr-00558 (D.N.J. 2019); United States v. Blumberg, 14-

cr-00458 (D.N.J. 2017); United States v. Oury, 08-cr-616 (D.N.J. 2009). Here, the Rule 502(d)

Order was entered before the grand jury returned the Indictment, at a time when the Defendants

had no knowledge of (much less an opportunity to challenge) the Rule 502(d) Order before it went

into effect. Allowing Cognizant to wield the Rule 502(d) Order in a manner that precludes further

production does not comport with basic notions of due process and fundamental fairness, even as

it jeopardizes the Defendants’ constitutional right to present a complete defense. See Millennium

Labs., Inc. v. Am. Clinical Sols., LLC, No. 11-cv-1299, 2012 WL 13103115, at *2 (M.D. Fla. Feb.

21, 2012) (“Elemental notions of due process and fairness counsel against actions affecting the

rights of unknown individuals who have had no opportunity to agree to or even be heard as to the

issues.”). The Rule 502(d) Order, in short, has no bearing whatsoever on the issues raised here.




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       G.      Cognizant’s Claims of Privilege Over Specific Categories of Documents
               Should Be Rejected.

       In addition to the broader arguments addressed above, Cognizant asserts privilege and work

product protection over specific categories of documents and communications, including: (1) draft

public disclosures and press releases; (2) information regarding document retention and collection;

and (3) communications with third-party accounting and public relations firms. Cognizant has

not, however, met its burden to show that these materials are related to the provision of legal

advice, and therefore its privilege assertions should be rejected.29

               1.      Draft Public Disclosures and Press Releases Are Not Privileged.

       Cognizant cannot, as it seeks to do, (CTS Br. at 37-38), claim privilege over its draft public

disclosures and press releases merely because they may contain attorney comments. Indeed, courts

in this circuit routinely reject privilege assertions based on the mere inclusion of attorney

comments. See Chabot v. Walgreens Boots All., Inc., No. 1:18-CV-2118, 2020 WL 3410638, at

*9 n.2 (M.D. Pa. June 11, 2020) (“A press release which merely ‘reflects’ an attorney’s comments,

i.e. integrates the comments without exposing the substance of the advice itself, is not

privileged.”); In re Riddell Concussion Reduction Litig., No. 13-7585 (JBS/JS), 2016 WL

7108455, at *9 (D.N.J. Dec. 5, 2016) (“[A]lthough [the] edits appear to be made by a lawyer, the

edits are of a factual nature and do not involve legal advice or opinions”). Thus, a party asserting

privilege must be able to show that the challenged documents were “made for the purpose of giving

or receiving [legal] advice.” Chabot, 2020 WL 3410638, at *8 . And “[f]or an entire document




29
   Cognizant’s repeatedly asserts that, beyond privilege, these categories of withheld documents
are irrelevant to “the Garrity issues.” (CTS Br. at 12, 39-41). But, as noted above, that argument
is based entirely upon its incorrect interpretation of the scope of the Subpoenas and the Court’s
Order. (See supra at I). Its argument accordingly fails on this basis as well.


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to be privileged, the attorney must be primarily rendering legal advice on the document as a

whole.” Id. at *8. Cognizant makes no such showing.

       In the face of this precedent, Cognizant’s primary argument as to why the draft public

disclosures and press releases are privileged hinges on when the communications were made rather

than what they say. (See CTS Br. at 37-38). But the fact that several Cognizant shareholders

commenced litigation against the company just days after its September 30, 2016 Form 8-K filing

does not alone render the contents of the documents Cognizant is withholding privileged. Nor

does Cognizant’s privilege log—arranged by category—provide information that would allow the

Court and counsel to determine whether the drafts are, in fact, primarily related to the provision of

legal advice. If anything, the drafts’ proximity to the Form 8-K filing indicates that at least certain

of the communications pertain to the kind of “corporate messaging concerns” that courts consider

non-privileged. See Riddell, 2016 WL 7108455, at *7-9. And, of course, the mere fact that the

Form 8-K references litigation does not automatically render prior drafts privileged. See id. at *5

(“[M]erely because a legal issue can be identified . . . does not justify shielding the communications

from discovery.”).30

               2.      Document Retention and Collection Materials Are Not Privileged.

       Cognizant’s arguments regarding its obligation to produce materials related to document

retention and collection are inapplicable because they related to documents that have not been

requested. That is, Cognizant argues that document hold notices and attorney communications



30
   Cognizant’s attempt to distinguish Riddell is unavailing. (CTS Br. at 38, n.26). In fact, the
Riddell court specifically stated that contents of draft press releases and communications regarding
such releases are not privileged. 2016 WL 7108455, at *7-9 (the content of press releases and
responses to media inquiries “address corporate ‘messaging’ concerns and not legal issues or
advice. . . . [T]he purpose of [the contested] documents relate to standard [public relations] and
messaging issues rather than legal advice”). As Cognizant points out, only documents evidencing
legal advice are entitled the protection of the privilege.


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need not be produced. (CTS Br. at 39). But Defendants readily acknowledge that document hold

notices themselves may contain material subject to the attorney-client privilege or work product

doctrine. (Def. Br. at 63). And as Cognizant concedes, courts have held that materials relating to

the process associated with data preservation efforts—i.e., “data-preservation steps”—are not

privileged and must be disclosed. (CTS Br. at 38 (citing Boyington v. Percheron Field Servs.,

LLC, No. 3:14-CV-90, 2016 WL 6068813, at *11-12 (W.D. Pa. Oct. 14, 2016) (“Defendant cannot

show that the attorney-client privilege or work-product doctrine apply to the information

surrounding the [data] preservation efforts.”))).     And while an attorney’s formulation and

communication of a legal hold may be protected, the scope of the hold and the instructions

provided to those executing a hold are not. See Boyington, 2016 WL 6068813, at *12; Major

Tours, Inc. v. Colorel, No. 05-3091 (JBS/JS), 2009 WL 2413631, at *2 (D.N.J. Aug. 4, 2009)

(“[P]laintiffs are entitled to know which categories of electronic storage information employees

were instructed to preserve and collect, and what specific actions they were instructed to undertake

to that end.”). Cognizant has not and cannot cite to any binding authority to contradict this premise

and should thus be compelled to produce the data collection and preservation materials that have

been sought.

               3.      Communications with Accounting and Public Relations Firms Are Not
                       Privileged.

       In refusing to produce communications with third-party accounting and public relations

firms, including E&Y, Finsbury, and CLS, Cognizant does not address the test for whether

disclosures to third parties merit the protection of the privilege. See HPD Lab’ys, Inc. v. Clorox

Co., 202 F.R.D. 410, 414 (D.N.J. 2001) (noting that, to qualify for protection, statements to and

from third parties must “be made in confidence for the purpose of obtaining legal advice from the

lawyer”) (emphasis in original). Cognizant’s privilege log does not assert the basic facts necessary



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to establish that the privilege applies, in that the third party communications, listed by category in

the privilege log, contain only vague, boilerplate justifications that do not specify whether (and if

so how) these documents were made for the purpose of obtaining legal advice, or what role the

third parties played in the process. (See Lustberg Cert. Ex. Y, Cat. E, CTS Privilege Log

(describing subjects of third party communications as relating to “[p]ublic disclosure,

communications, potential litigation and related legal strategy re: the Investigation.”)).

       Instead, Cognizant argues that all communications with third party firms are categorically

privileged because the firms were retained “in connection with the investigation.” (CTS Br. at

40). But the starting point is precisely the opposite. See, e.g., La. Mun. Police Emps. Ret. Sys. v.

Sealed Air Corp., 253 F.R.D. 300, 309 (D.N.J. 2008) (“Generally, the voluntary disclosure of an

attorney-client communication to a third party waives the attorney-client privilege.”). And

privilege designations are not self-executing, see Cellco P'ship v. Certain Underwriters at Lloyd's

London, No. CIV.A. 05-3158 (SRC), 2006 WL 1320067, at *2 (D.N.J. May 12, 2006); rather, “[t]o

protect the privilege, the party claiming a third party as an agent, bears the burden of showing that

the person in question worked at the direction of the lawyer, and performed tasks relevant to the

client’s obtaining legal advice, while responsibility remained with the lawyer,” id. (internal citation

omitted). Cognizant has not, in either its privilege log or its response to the Defendants’ motion

or cross-motion, made any attempt to meet that test. It thus should be compelled to produce

responsive communications with third-party accounting and public relations firms, including

E&Y, Finsbury, and CLS.31



31
  Of course, Cognizant may redact any portions of communications with the third-party firms that
actually contain privileged communications. See Chabot, 2020 WL 3410638, at *8 (“If the
document is not made for the primary purpose of communicating legal advice or is not itself a
legal instrument, any edits or notations bearing the primary purpose of legal advice may be
segregated and redacted.”). But that, not the wholesale withholding of the documents at issue, is


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       H.      The Defendants’ Constitutional Rights Outweigh Cognizant’s Privilege and
               Work Product Claims.

       Cognizant also fails to meaningfully address the Defendants’ assertion that their

constitutional right to present a complete defense outweighs Cognizant’s privilege and work

product claims. Indeed, Cognizant appears to argue that the Defendants’ Sixth and Fourteenth

Amendment rights are irrelevant to the analysis, such that there is no constitutional interest to

weigh. (See CTS Br. at 51-52).

       But that radical position ignores that courts routinely recognize that the attorney-client

privilege, “hallowed as it is, yet not found in the Constitution, might have to yield” if its

enforcement would curtail criminal defendants’ constitutional rights. United States v. Rainone, 32

F.3d 1203, 1206 (7th Cir. 1994). Indeed, if “there is a strong likelihood that the [third party’s

privileged] files contain exculpatory material that would be helpful and relevant to the defense . .

. that defendant’s due process rights to access such information outweigh any claim of attorney-

client privilege.” United States v. Stringer, No. CR 03-432-HA, 2005 WL 8167079, at *2 (D. Or.

Mar. 4, 2005). Nondisclosure of evidence on privilege grounds is, then, unconstitutional where it

“significantly undermine[s] fundamental elements of the defendant’s defense.” United States v.

Scheffer, 523 U.S. 303, 315 (1998).

       Whether or not the weighing of interests is specifically labeled a “balancing test,” both the

Supreme Court and the Third Circuit regularly weigh competing concerns when addressing

conflicts between criminal defendants’ constitutional rights, on the one hand, and evidentiary rules

and privileges, on the other.32 Indeed, the very case to which Cognizant points in its effort to


the appropriate way to address this possibility.
32
   See, e.g., Rock v. Arkansas, 483 U.S. 44, 51-52, 55-56 (1987) (holding that per se rule excluding
all hypnotically refreshed testimony violated criminal defendant’s right to testify under the Fifth,
Sixth, and Fourteenth Amendments and observing that when “applying its evidentiary rules a State


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discredit this weighing of interests—Swidler & Berlin v. United States—explicitly reserved the

question whether “exceptional circumstances implicating a criminal defendant’s constitutional

rights might warrant breaching the privilege.” 524 U.S. 399, 408 n.3 (1998). Here, moreover,

Cognizant’s interest in the privilege is particularly weak given the extensive disclosures it has

already made to the DOJ and SEC, discussed above with reference to specific examples. By

contrast, the Defendants (one of whom was the Chief Legal Officer of Cognizant, whose own

statements are being withheld from him as privileged) cannot obtain the necessary information

sought in these Court-approved Subpoenas from any other source.

       In arguing that its privilege claims cannot be overcome by the Defendants’ constitutional

rights, Cognizant relies primarily on an inapposite civil case that raises none of the constitutional

issues present here.33 (See CTS Br. at 51 (citing United States v. Wells Fargo Bank, N.A., 132 F.

Supp. 3d 558, 559 (S.D.N.Y. 2015))). Cognizant points to dicta in Wells Fargo criticizing one of

the Defendants’ authorities, United States v. W.R. Grace, 439 F. Supp. 2d 1125, 1145 (D. Mont.

2006), where a district court compelled production of privileged materials to a criminal defendant

based on his constitutional right to present a complete defense. But, as Wells Fargo explicitly




must evaluate whether the interests served by a rule justify the limitation imposed on the
defendant’s constitutional right to testify”); Davis v. Alaska, 415 U.S. 308, 319 (1974) (finding
that state evidentiary rule rendering juvenile convictions inadmissible is “outweighed by” criminal
defendant’s constitutional rights); United States v. Criden, 633 F.2d 346, 359-60 (3d Cir. 1980)
(applying balancing test to hold that criminal defendant’s Fifth and Sixth Amendment rights were
important countervailing constitutional interests that outweighed third-party journalists’
privilege).
33
  Cognizant’s additional authorities do not support the claim that constitutional rights may never
be considered when they conflict with privilege; rather, they support the proposition that the
inquiry is highly context-dependent. See, e.g., Taylor v. Illinois, 484 U.S. 400, 410 (1988) (finding
the “State’s position that the [Sixth] Amendment is simply irrelevant” to privilege analysis to be
“extreme” and “unacceptable.”).



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recognized, Grace, unlike Wells Fargo, “was a criminal case, and its analysis was based explicitly

on a criminal defendant’s rights under the Sixth Amendment.” Id. at 561, 565.34

       Particularly in the context of work product protection, the Defendants have shown that

(especially where, as here, the party asserting the privilege has already, like Cognizant, settled

claims with the Government), any claim of withholding can be overcome by the Defendants’

constitutional right to present a complete defense, including their “substantial need” for the

materials at issue. See United States v. Marcus Schloss & Co., No. 88 CR. 796 (CSH), 1989 WL

62729, at *2-4 (S.D.N.Y. June 5, 1989). Cognizant responds by alleging that “Defendants here

provide no support for their conclusory assertion that Cognizant has withheld ‘exculpatory’

materials from the Government,” and that the present circumstances are not sufficiently

“exceptional” to justify disclosure of work product. (CTS Br. at 52 & n.35). But again, the

Defendants have cited a number of specific examples in which Cognizant withheld materials that

are clearly exculpatory (and certainly material to the defense) on the basis of selective assertions

of privilege. (Def. Br. at 56-59). That Cognizant declines to confront those examples does not

mean they—and likely other similar materials withheld by Cognizant—do not exist. In sum,

Cognizant’s documented attempt to present a “one-sided” version of the facts while invoking

privilege in a way that impairs the Defendants’ constitutional right to present a complete defense

poses exactly the type of “exceptional” circumstances in which the privilege simply must, in the

interest of a fair trial, give way under the case law.




34
   Notably, Wells Fargo also clearly acknowledged the qualified nature of the work product
doctrine, which is much more easily overcome than attorney-client privilege, even outside of the
criminal context. Id. at 563.


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III.   COGNIZANT’S PRIVILEGE LOG IS INADEQUATE.

       For the reasons discussed in the Defendants’ Moving Brief, Cognizant’s privilege log—

which is arranged by category rather than individual entries—has in this case limited the

Defendants’ ability to meaningfully review Cognizant’s privilege and work product claims. But

rather than address the specific issues raised, Cognizant offers arguments that are unsupported by

the law and the facts of this case.

       First, Cognizant argues that defendants’ challenges to the log are grounded in “outdated

case law.” (CTS Br. at 35-36). In fact, the cases cited in the Defendants’ Moving Brief represent

the prevailing law in the Third Circuit. (Def. Br. at 60 (citing cases)). “[I]n this circuit, a

categorical privilege log may be permissible only where the responding party has established

undue burden with specificity.” Bethea v. Merchants Com. Bank, No. 11-51, 2012 WL 5359536,

at *2 (D.V.I. Oct. 31, 2012) (citing Tyco Healthcare Grp. LP v. Mut. Pharm. Co., No. 07-1299

(SRO)(MAS), 2012 WL 1585335 (D.N.J. May 4, 2012)). But Cognizant makes no attempt

whatsoever to explain how providing a document-by-document privilege log would constitute an

undue burden.

       Nor does Cognizant address the Defendants’ argument that a privilege log that describes

documents only by category is particularly inappropriate in this case, where the stakes—including

the Defendants’ fundamental constitutional rights—are so high and the number of documents at

issue is relatively small. See Tyco Healthcare Grp. LP, 2012 WL 1585335, at *4 (requiring a

document-by-document privilege log where the log was “narrow in scope, potentially resulting in

a few thousand documents”).

       In support of its position, Cognizant again relies upon non-controlling decisions (see CTS

Br. at 35-36 (citing Games2U, Inc. v. Game Truck Licensing, LLC, No. MC-13-00053 (PHX)

(GMS), 2013 WL 4046655, *7 (D. Ariz. Aug. 9, 2013); S.E.C. v. Thrasher, No. 92 CIV. 6987


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(JFK), 1996 WL 125661, at *1-2 (S.D.N.Y. Mar. 20, 1996))), and cites to what it characterizes as

a trend towards categorical privilege logs. But whether or not that trend exists, Cognizant cites no

authority for its application to criminal cases. (See CTS Br. at 35-36). And Cognizant’s theory

that a categorical privilege log is appropriate here because the Subpoenas seek privileged

documents evaporates in the face of the Defendants’ argument that any privilege has been waived,

as discussed above. If anything, Cognizant’s hazy and inconsistent invocations of the privilege

make an individualized log more, rather than less, essential in this case.

       Finally, even if a categorical log were appropriate in this case based on some unspecified

burden, Cognizant has not meaningfully addressed its failure to provide the subject lines of the

emails marked as withheld or redacted. Its one-line reference in a footnote to the alleged

“additional burden” of providing subject lines, (id. at 37 n.25), certainly does not excuse its failure

to provide them here. See, e.g., Favors v. Cuomo, 285 F.R.D. 187, 223 (E.D.N.Y. 2012) (“[G]iven

today’s litigation technology, there is no good reason why privilege logs should not include—

where to do so would not itself reveal privilege or protected information—other readily accessible

metadata for electronic documents, including, but not limited to . . . subject line[s] . . . and a

description of any attachments.”) (citation omitted).35

                                          CONCLUSION

       For the foregoing reasons, the Defendants respectfully request that the Court grant their

motion to compel compliance with the Rule 17 Subpoenas issued to Cognizant and deny

Cognizant’s cross-motion to modify or quash.


35
   Cognizant’s unsupported assertion that subject lines “could contain privileged information,” (id.
at 36) (emphasis added), is clearly insufficient. Of course, that is true of every email ever logged,
and if the subject lines are in fact privileged (and there is no reason to believe they are), they can
easily be redacted; otherwise, they would provide particularly probative information in terms of
assessing the propriety of a privilege assertion.



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